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            EXHIBIT 2
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                       UNITED STATES DISCTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   ROBERT DAVIS, and SHANE
   ANDERS
         Plaintiffs,
   vs.                                               Case No. 20-cv-12127
                                                     Hon. Nancy G. Edmunds
   WAYNE COUNTY BOARD OF
   CANVASSER,
         Defendants.
   and
   KYM WORTHY
         Proposed Intervenor-Defendant.

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     PROSECUTOR WORTHY’S AMENDED MOTION TO INTERVENE

        Wayne County Prosecutor Kym L. Worthy (“Prosecutor Worthy”), by and

  through her attorneys, respectfully moves to amend her motion to intervene pursuant

  to Fed. R. Civ. P. 15(a), 6 (b)(1)(A) and (B), and Local Court 7.1 for the reasons

  stated in the following brief in support.

                                                  Respectfully Submitted,

                                                   /s/Angela L. Baldwin
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                       UNITED STATES DISCTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   ROBERT DAVIS, and SHANE
   ANDERS,

         Plaintiffs,

   vs.                                               Case No. 20-cv-12127
                                                     Hon. Nancy G. Edmunds
   WAYNE COUNTY BOARD OF
   CANVASSER,                                 PROSECUTOR WORTHY’S
         Defendants.                        AMENDED BRIEF IN SUPPORT OF
                                               MOTION TO INTERVENE
   and
   KYM WORTHY

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                                     I. Introduction

        Prosecutor Worthy moves to amend her motion to intervene, pursuant to Fed.

  R. Civ. P. 15(a) and 6 (b)(1)(A) and (B). Fed. R. Civ. P. “15(a) declares that leave

  to amend shall be freely given when justice so requires; this mandate is to be

  heeded.” Foman v. Davis, 371 U.S. 178, 182; 83 S. Ct. 227, 230; 9 L Ed 2d 222

  (1962). In the absence of any apparent reason “such as undue delay, bad faith or

  dilatory motive on the part of the movant, repeated failure to cure deficiencies by

  amendments previously allowed, undue prejudice to the opposing party by virtue of

  allowance of the amendment, futility of amendment, etc.— the leave sought should,

  as the rules require, be freely given.” Id. The grant or denial of an opportunity to

  amend is within the Courts discretion “but outright refusal to grant the leave without

  any justifying reason appearing for the denial is not an exercise of discretion; it is

  merely abuse of that discretion and inconsistent with the spirit of the Federal Rules.”

  Id.

        Alternatively, pursuant to Fed. R. Civ. P. 6 (b)(1), a court may, for good cause,

  extend the time (A) with or without motion or notice if the court acts, or if a request

  is made, before the original time or its extension expires; or (B) on motion made

  after the time has expired if the party failed to act because of excusable neglect.

        On August 21, 2020, Prosecutor Worthy timely filed a motion to intervene in

  this matter (ECF No. 15). The week after Plaintiffs’ response was due, Plaintiffs


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  filed an emergency motion for an extension of time until September 9, 2020. (ECF

  No. 24) This Court granted Plaintiffs’ motion. On September 11, 2020, again after

  the deadline lapsed, Plaintiffs’ filed a second emergency motion for an extension of

  time as well as their response brief in opposition to Prosecutor Worthy’s motion to

  intervene. (ECF No. 32) (ECF No. 33). Prosecutor Worthy has responded and

  intervened in numerous Plaintiff Davis’ “emergency motions” and/or cases in state

  and federal court in order to diligently protect her rights as a candidate for office in

  the November 3, 2020 General Election. In each and every instance, the state and

  federal courts have granted Prosecutor Worthy’s requested intervention. Further, in

  the instant amended motion, she is not seeking the amendment in bad faith or with a

  dilatory motive. This is Prosecutor Worthy’s first amended motion which shall be

  freely given to cure any deficiencies by way of amendment.

        None of the factors that may militate against granting Prosecutor Worthy’s

  motion to amend is present in this case. Plaintiffs will not suffer any undue prejudice

  by virtue of the Court’s allowance of the proposed amendment. The determination

  of whether prejudice would occur often includes assessing whether allowing an

  amendment would result in additional discovery, cost, and preparation to defend

  against new facts or new theories. Plaintiffs cannot be prejudiced, or caught off

  guard, by the proposed amendment, since the Plaintiffs have first-hand knowledge

  of the roles that they played in the transaction at issue and the proceedings described


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  therein. The proposed amended motion to intervene does not involve the addition of

  any new defendants, set forth any new claims, or raise any new legal theories. The

  amened motion to intervene accounts for federal rules and case law. Thus, no

  prejudice would result to Plaintiffs in allowing the amendment under these

  circumstances.

        The interests of justice and judicial economy will undoubtedly be served by

  having all allegations and defenses properly before the Court and the grant of this

  motion is particularly appropriate here, given the clear absence of any substantial

  reason to deny leave to amend.

                                   II. Background

        The heart of this litigation arises out of the Wayne County Third Circuit Court

  Case No. 20-007116-AW, where Prosecutor Worthy’s candidacy for re-election to

  the position of Wayne County Prosecuting Attorney was unsuccessfully challenged.

  Around June 3, 2020 Victoria Burton-Harris (“Burton-Harris”) submitted a letter to

  the Wayne County Clerk (“County Clerk”) challenging the candidacy of Prosecutor

  Worthy for the Office of Wayne County Prosecutor in the August 4, 2020 Primary

  Election. On June 4, 2020 Prosecutor Worthy filed her response with the County

  Clerk. At its June 5, 2020 meeting, the Wayne County Election Commission rejected

  the challenge. Under advice of County Corporation Counsel and after oral argument,

  the County Clerk properly determined that Prosecutor Worthy had complied with


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   the mandatory statute. As a result, Prosecutor Worthy’s candidacy was approved to

   appear on the August 4, 2020 Primary Election ballot.

         On June 5, 2020, Burton-Harris filed a Verified Complaint for a Writ of

   Mandamus, Injunctive and Declaratory Relief, and an Ex Parte Emergency Motion

   for Temporary Restraining Order (“TRO”) in Wayne County Third Circuit Court.

   Chief Judge Kenny denied the Ex Parte Motion for TRO and entered an Order for

   Defendants to Show Cause why a Writ of Mandamus and Preliminary Injunction

   should not be issued.1 On August 21, 2020, Prosecutor Worthy filed a motion to

   intervene. On June 11, 2020, Plaintiff, Robert Davis, (“Plaintiff” or “Davis”) filed

   an Emergency Motion to Intervene. On June 15, 2020 after extensive briefing and

   oral arguments, the court granted Prosecutor Worthy’s motion to intervene, denied

   Davis’ Motion to Intervene and denied Burton-Harris’ Motion for Writ of

   Mandamus and Declaratory Judgment.

         Two weeks later, on June 29, 2020, Davis filed an appeal with the Michigan

   Court of Appeals not only with respect to the denial of his motion to intervene, but

   Davis also named and brought suit against Chief Judge Kenny personally, and

   further appealed the court’s substantive ruling, even though Davis was not a party.




   1
    Burton-Harris filed an Emergency Application for Leave to Appeal Judge Kenny’s
   Order denying her Ex Parte Motion for TRO, which was also denied by the Court of
   Appeals. (Docket No. 353770).
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  Notably, the actual candidate, Burton-Harris, did not file an appeal of the circuit

  court ruling.

        The Court of Appeals granted leave to appeal and denied expedited

  consideration. This matter remains pending before the Michigan Court of Appeals,

  Docket No. 353999. Simultaneously, Davis filed with the Michigan Supreme Court

  a bypass application and application to appeal the Michigan Court of Appeals July

  1, 2020 Order. This was also denied by the Michigan Supreme Court. In the recent

  months, Davis, pro se, or with counsel Drew Patterson, has filed roughly 24 cases

  that are all dressed-up in slightly different ways or causes of actions alleged, but

  ultimately seeking the same or substantially similar relief: attempting to bar

  Prosecutor Worthy from the General Election ballot. This case is a prime example

  of the same pattern.

        Yesterday, the United States Court of Appeals for the Sixth Circuit issued its

  opinion denying Davis’ petition raising similar claims to the case at bar. In re: Shane

  Anders, Case No 20-1880 (CA 6, 2020) (Exhibit 1). In rejecting Davis’ claims, the

  Sixth Circuit described said claims as “vexatious” campaign tactics. Prosecutor

  Worthy agrees.

        On August 7, 2020 Plaintiffs’ filed their first complaint in the instant case,

  and alleged that their federal constitutional rights were violated, and their votes were

  diluted because the Board counted votes for Prosecutor Worthy and Brenda Jones,


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  Detroit City Council President, and then a candidate for Congress in the primary

  election. (ECF No. 1) (Exhibit 2). On August 12, 2020 Plaintiffs filed a motion for

  a temporary restraining order or preliminary injunction as to the counts I and II, the

  counts that expressly name Prosecutor Worthy. (ECF No. 12). As soon as Prosecutor

  Worthy became aware of the motion, she timely filed a motion to intervene on

  August 21, 2020. (ECF No. 15) (Exhibit 3). Pursuant to Local Court rule

  7.1(e)(2)(B), Plaintiffs’ response to Prosecutor Worthy’s motion was due on

  September 4, 2020. Instead of responding to Prosecutor Worthy’s motion to

  intervene, Plaintiffs filed an amended complaint. (ECF No. 21) (Exhibit 4). The

  following week, after the deadline lapsed, Plaintiffs filed an emergency motion for

  an extension of time until September 9, 2020. (ECF No. 24) This Court granted

  Plaintiffs’ motion. On September 11, 2020, again after the deadline lapsed, Plaintiffs

  untimely filed its response brief in opposition to Prosecutor Worthy’s motion to

  intervene. (ECF No. 32) (Exhibit 5). Plaintiffs filed their second emergency motion

  for an extension of time to file a response to the motion to intervene but only after

  they filed their untimely response (ECF No. 33) (Exhibit 6). As Plaintiffs concede

  but fail to heed, “election-related matters are time sensitive”. (Exhibit 6, Plaintiffs’

  second emergency motion for an extension of time, at 8).

        Shortly thereafter, Plaintiffs filed a “motion to expedite, briefing, scheduling,

  and adjudication of Plaintiffs emergency motion for summary judgment with respect


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  to count IX only of Plaintiffs amended complaint (ECF No. 21) pursuant to Fed. R.

  Civ. P. 56 (ECF No. 34)” (ECF No. 35). This Court denied that motion. Today,

  Plaintiffs’ filed, yet another, emergency motion to expedite briefing, scheduling and

  adjudication of Plaintiffs’ emergency motion for an order staying the destruction of

  absentee ballots cast and used. (ECF No. 42) (ECF No. 43). “[D]istrict courts

  ordinarily enjoy broad discretion in matters of pretrial management, scheduling, and

  docket control.” Kimble v. Hoso, 439 F.3d 331, 336 (6th Cir. 2006). And as recently

  opined by the United State Court of Appeals for the Sixth Circuit, “Anders claimed

  emergency is better explained by vexatious litigation strategy than a true

  emergency.” In re: Shane Anders, Case No 20-1880 (CA 6, 2020) (Exhibit 1), supra.

        Pursuant to Local Court Rule 7.1, Prosecutor Worthy sought concurrence in

  the Motion to Intervene from all parties in this matter. Defendants provided

  concurrence and Plaintiffs oppose.

                                     III. Argument

        A. Prosecutor Worthy Should Be Permitted to Intervene as Of Right.

        Prosecutor Worthy, as candidate for office, is a party with an inherent interest

  relating to the subject of this action and whose rights cannot be adequately

  represented by the parties in this matter. Federal Rule of Civil Procedure 24(a)(2)

  provides that a court must permit intervention on timely application by anyone: (1)

  who “claims an interest relating to the property or transaction that is the subject of


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  the action,” and (2) whose interest may be “impair[ed] or impede[d]” by disposition

  of the action, “unless existing parties adequately represent that interest.” Fed. R. Civ.

  P. 24(a)(2).

        This Rule is “broadly construed in favor of potential intervenors,” who

  must be permitted to intervene if: “1) the application was timely filed; 2) the

  applicant possesses a substantial legal interest in the case; 3) the applicant’s ability

  to protect its interest will be impaired without intervention; and 4) the existing

  parties will not adequately 4 represent the applicant’s interest.” Ohio State

  Conference of NAACP v. Husted, 588 F. App’x 488, 490 (6th Cir. 2014) (citation

  omitted); see Grutter v. Bollinger, 188 F.3d 394, 397-98 (6th Cir. 1999) (same).

  Prosecutor Worthy meets each of these requirements for intervention as of right and,

  alternatively, intervention by permission.

                 1. Prosecutor Worthy’s Motion is Timely

        The threshold determination of “whether a motion is timely is a matter within

  the sound discretion of the trial court.” NAACP v. New York, 413 U.S. at 365–66, 93

  S.Ct. at 2602–03; Michigan Ass’n for Retarded Citizens v. Smith, 657 F.2d 102, 105

  (6th Cir.1981). This Court, evaluates “timeliness in the context of all relevant

  circumstances, such as the purpose of the motion to intervene, the length of time the

  applicant for intervention should have known of his interest in the case, whether the

  original parties would be prejudiced by further delays, whether there are any unusual


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  circumstances which would bear on granting or denying the motion and to what

  stage the lawsuit has progressed.” Michigan Ass’n for Retarded Citizens, 657 F.2d

  at 106; Stotts v. Memphis Fire Dep’t, 679 F.2d 579, 582 (6th Cir.), cert. denied, 459

  U.S. 969, 103 S. Ct. 297, 74 L.Ed.2d 280 (1982); see also United Airlines, Inc. v.

  McDonald, 432 U.S. at 396, 97 S. Ct. at 2470 (court must determine whether the

  intervenor acted promptly in view of all the circumstances). Bradley v Milliken, 828

  F2d 1186, 1191 (CA 6, 1987).

        Here, the case is at its earliest stage. No factual or legal issues have been

  substantially litigated. A scheduling order has not been issued. And the parties will

  not be prejudiced by the intervention. There has been no expedited briefing schedule

  granted as this Court has denied Plaintiffs’ motion for an expedited briefing and

  adjudication of Plaintiffs’ motion for summary disposition. (ECF No. 35). Moreover,

  the parties have been put on notice of Prosecutor Worthy’s intent to intervene on

  August 21, 2020 as evidenced by her original motion to intervene (ECF No.15).

  Prosecutor Worthy’s Motion is timely and permitting her invention will, in no way,

  unduly delay or prejudice the adjudication of the rights of the original parties. In

  light of all the circumstances, Prosecutor Worthy acted timely.

               2. Prosecutor Worthy Has A Substantial Legal Interest in The Subject
                  Matter of This Case

        Prosecutor Worthy has a substantial legal interest in the subject matter of this

  case because Plaintiffs are challenging her candidacy for the August 4, 2020 Primary
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  and November 4, 2020 General Election. The United States Court of Appeals for the

  Sixth Circuit supports to a “rather expansive notion of the interest sufficient to

  invoke intervention of right.” Grutter, 188 F.3d at 398 (citation omitted); see also

  Bradley v. Milliken, 828 F.2d 1186, 1192 (6thCir. 1987) (“‘[I]nterest’ is to be

  construed liberally.”). No specific legal or equitable interest is required, see Grutter,

  188 F.3d at 398, and even “close cases” should be “resolved in favor of recognizing

  an interest under Rule 24(a),” Mich. State AFL-CIO v. Miller, 103 F.3d 1240, 1247

  (6th Cir. 1997).

        Prosecutor Worthy’s interest is strong here because the complaint alleges that

  she did not follow Michigan Election Law. Prosecutor Worthy is directly named in

  counts I and II of Plaintiffs’ complaint and counts I and II in Plaintiffs’ amended

  complaint. She has an unconditional right to intervene in this matter because it

  directly impacts and relates to her candidacy for the Office of Wayne County

  Prosecutor in the November 3, 2020 General Election.

               3. Intervention is Necessary to Protect Prosecutor Worthy’s Interest
                  in this Case

        To satisfy the third element, “a would-be intervenor must show only that

  impairment of its substantial legal interest is possible if intervention is denied. This

  burden is minimal.” Miller, 103 F.3d at 1247 (citing Purnell, 925 F.2d at 948).

  Grutter, 188 F3d 394, 399 (CA 6, 1999) (emphasis added). Accordingly,



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  intervention of right does not require an absolute certainty that a party’s interest will

  be impaired, just a possibility that a party’s interest will impaired.

         Here, there is a definite possibility that Prosecutor Worthy’s interest will be

  impaired because a federal decision applying, or interpreting Michigan election law

  could affect her candidacy in the November 2020 General Election and could also

  hinder Prosecutor Worthy’s efforts to litigate similar claims currently in the

  Michigan Court of Appeals. See Miller, 103 F.3d at 1245, 1247- 48 (finding

  impairment of interest where Michigan Chamber of Commerce argued that “the

  precedential effect of an adverse ruling . . . could hinder its own efforts to litigate

  the validity of Michigan’s system for regulating campaign finance”). Clearly,

  intervention is proper to protect against any possibility in an impairment of her legal

  interests.

               4. Prosecutor Worthy’s Interests Are Not Adequately Represented by
                  Current Parties.

         As it relates to the fourth element, Prosecutor Worthy, as candidate for office,

  is a party with an interest relating to the subject of the action whose rights cannot be

  adequately represented by the parties in this matter. This burden, again, is minimal

  to show that the existing parties to this litigation inadequately represent her interests.

  Jordan v. Mich. Conference of Teamsters Welfare Fund, 207 F.3d 854, 863 (6th Cir.

  2000). A potential intervenor “need not prove that the [existing parties’]

  representation will in fact be inadequate, but only that it ‘may be’ inadequate.” Id.
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Case
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  (citations omitted) (emphasis added); see also Davis v. Lifetime Capital, Inc., 560 F.

  App’x 477, 495 (6th Cir. 2014) (“The proposed intervenor need show only that there

  is a potential for inadequate representation.”) (citation omitted) (emphasis in

  original).

        Here, there is potential for inadequate representation. Davis has filed 24 cases

  all, if not most, on an emergency basis. Wayne County Counsel is a named defendant

  in most. Management of such case load requires immediate and immense attention

  and effort on behalf of Wayne County Counsel to litigate. Wayne County Counsel

  does not represent Prosecutor Worthy or have knowledge of facts necessary to

  represent her interests. Additionally, Wayne County Counsel has a heavy case load

  representing its own clients and must provide its attention to its own clients first and

  foremost. Lastly, Defendants concur with Prosecutor Worthy’s request to intervene.

  Prosecutor Worthy satisfies this burden.

        B.     Prosecutor Worthy Should be Allowed to Intervene By Permission

        Alternatively, Prosecutor Worthy should be allowed to intervene by

  permission. The Court may permit intervention by anyone who has “a claim or

  defense that shares with the main action a common question of law or fact.” Fed. R.

  Civ. P. 24(b)(1)(B). “In exercising its discretion,” a court “must consider whether

  intervention will unduly delay or prejudice the adjudication of the original parties’

  rights.” Fed. R. Civ. P. 24(b)(3).


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Case
 Case2:20-cv-12127-NGE-APP
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        The interests of justice and judicial economy will undoubtedly be served by

  having all allegations and defenses properly before the Court, and, in so doing, the

  action can more effectively proceed on the merits. First, Prosecutor Worthy’s

  motion is timely for the reasons detailed in section A(1). The parties have been put

  on notice of Prosecutor Worthy’s intent to intervene as evidenced by her original

  motion to intervene on August 21, 2020. The case is at its earliest stage and no

  factual or legal issues have been substantially litigated.

        Second, Prosecutor Worthy shares, with the main action, common questions

  of law and facts. Specifically, she is named in counts I and II of Plaintiffs’ original

  and amended complaint. In Plaintiffs’ amended complaint, they specifically request

  the following relief in relevant part (among other relief): count I (f) declaration that

  Defendant cannot count and/or certify any votes cast for Prosecutor Worthy in the

  August 4, 2020 primary election; (g) a declaration that the ballots printed with

  Prosecutor Worthy’s name were not printed in accordance with Michigan Election

  Law; (j) an injunction enjoining defendants from counting, tallying, and/or certifying

  any votes cast for Prosecutor Worthy. Prosecutor Worthy most certainly has a

  substantial interest in this subject matter of this case because her candidacy is being

  challenged. Common questions of law and fact exists.

        Furthermore, Plaintiffs alleged that their federal constitutional rights were

  violated, and their votes were diluted because Defendants counted votes for


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  Prosecutor Worthy. Plaintiffs sought the same type of relief in the Third Circuit

  Court and the Michigan Court of Appeals as they seek with this Court, and that is to

  overturn Wayne County Circuit Court Chief Judge Kenny’s ruling and find that

  Prosecutor Worthy’s name should have neither appeared on the August 4, 2020

  Primary Election ballot, nor the November 3, 2020 General Election ballot.

        Davis’ request is moot because the August Primary has already occurred. In

  the August 4, 2020 primary election the voters elected Prosecutor Worthy over her

  Democratic Party challenger Burton-Harris with 62.3% of the vote.2 On August 18,

  2020 the Board certified the election results which included Prosecutor Worthy as

  the Democratic candidate. Plaintiffs serial court filings are now moot as it relates to

  the primary election, and a transparent attempt to interfere with the will of the people

  in selecting the candidate of their choosing by seeking to overturn an election.

        Finally, this case is at an early stage Prosecutor Worthy’s intervention will not

  delay or prejudice the adjudication of any party’s rights. Plaintiffs cannot be

  prejudiced, or caught off guard, by the proposed amended motion to intervene, since

  Plaintiffs were put on notice by Prosecutor Worthy’s original motion filed on August

  21, 2020. The determination of whether prejudice would occur often includes

  assessing whether allowing an amendment would result in additional discovery, cost,


  2
    Wayne County Clerk’s Office, Elections Division, Elections Summary Report,
  August     4th,  2020     –    Primary      Election,      Unofficial Results
  https://www.waynecounty.com/elected/clerk/election-results.aspx
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  and preparation to defend against new facts or new theories. Plaintiffs have first-

  hand knowledge of the roles that they played in the transaction at issue. The proposed

  amended motion to intervene does not involve the addition of any new defendants,

  set forth any new claims, or raise any new legal theories. And there is no expedited

  briefing schedule. Thus, no prejudice or undue delay would result under these

  circumstances.

                                     V. Conclusion

        WHEREFORE, for the reasons identified and in the interest of justice

  Proposed Intervening-Defendant Prosecutor Worthy respectfully requests that this

  Honorable Court grant her amended motion to intervene.




                                                Respectfully Submitted,

                                                /s/Angela L. Baldwin
                                                Melvin Butch Hollowell (P37834)
                                                Angela L. Baldwin (P81565)
                                                THE MILLER LAW FIRM, P.C.
                                                Attorneys for Proposed Intervenor-
                                                Defendant
                                                1001 Woodward, Suite 850
                                                Detroit, Michigan 48226
                                                (313) 483-0880
                                                mbh@millerlawp.com
                                                alb@millerlawpc.com


  Dated: September 18, 2020


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                                  PROOF OF SERVICE

        I hereby certify that on September 18, 2020, I electronically filed the

  foregoing document using the ECF system which will send notification of such

  filing to all attorneys of record.



                                               /s/ Angela L. Baldwin_____
                                               Melvin Butch Hollowell (P37834)
                                               Angela L. Baldwin (P81565)
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                                               Kym Worthy
                                               mbh@millerlawpc.com
                                               alb@millerlawpc.com




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   EXHIBIT           DESCRIPTION
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   Exhibit 2         August 7, 2020 Complaint and Jury Demand
   Exhibit 3         Prosecutor Kym L. Worthy’s Motion to Intervene
   Exhibit 4         September 4, 2020 Amended Complaint and Jury Demand
   Exhibit 5         Plaintiffs’ Response in Opposition to Proposed Intervenor
                     Kym Worthy’s Motion to Intervene
   Exhibit 6         Plaintiffs’ Second Emergency Motion for Extension of Time
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                                              No. 20-1880

                              UNITED STATES COURT OF APPEALS                                FILED
                                                                                      Sep 16, 2020
                                   FOR THE SIXTH CIRCUIT
                                                                                 DEBORAH S. HUNT, Clerk


   In re: SHANE ANDERS,                                  )
                                                         )              ORDER
          Petitioner.                                    )




          Before: MERRITT, GILMAN, and NALBANDIAN, Circuit Judges.

          Shane Anders petitions this Court for a writ of mandamus requiring the district court to

   expedite its decision on his ex parte motion for a temporary restraining order or preliminary

   injunction. He claims that his right to be on the November 3, 2020, ballot in Michigan has been

   denied by the Wayne County Board of Canvassers. After considering the responses by the

   district court and opposing party, we determine that he cannot meet the standard for a writ of

   mandamus, and we DENY his petition.

          “Mandamus is a drastic remedy that should be invoked only in extraordinary cases where

   there is a clear and indisputable right to the relief sought.” United States v. Young, 424 F.3d 499,

   504 (6th Cir. 2005). Petitioners must “demonstrate a clear abuse of discretion or conduct

   amounting to usurpation of the judicial power to be entitled to issuance of the writ.” Mallard v.

   United States Dist. Court for S. Dist., 490 U.S. 296, 309 (1989) (cleaned up). “And, because

   mandamus is a discretionary remedy, a Court may decline to issue the writ if it finds that it

   would not be ‘appropriate under the circumstances’ even if the petitioner has shown he is

   ‘clearly and indisputably’ entitled to it.” In re Professionals Direct Ins. Co., 578 F.3d 432, 437

   (6th Cir. 2009) (quoting Cheney v. U.S. Dist. Court, 542 U.S. 367, 381 (2004) (alterations

   removed)).
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                                               No. 18-6253
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          Anders is not asking us to require the district court to issue a TRO or injunction. Rather,

   he asks us to require the trial court to expedite the decision on his motion—though he spends

   most of his briefing on the merits of his case. “[D]istrict courts ordinarily enjoy broad discretion

   in matters of pretrial management, scheduling, and docket control.” Kimble v. Hoso, 439 F.3d

   331, 336 (6th Cir. 2006). And we will not lightly command the district court to alter its schedule.

   Anders has not explained why this case warrants interference with the district court’s power,

   especially when the purported deadline, according to him, was several days ago on September 9.

   (R. 23, Motion to Expedite, PageID 865.)

          He also does not explain why, in the face of the alleged emergency, he waited four days

   after knowing about his cause of action to file the motion for a TRO or injunction, filing just

   twenty-one hours before his claimed deadline. He then waited another three days after the district

   court denied his motion to expedite before asking this Court for relief. This combined total of

   seven days’ delay suggests that Anders’s claimed urgency is better explained by vexatious

   litigation strategy than true emergency. In addition, our review of the trial court’s docket and the

   trial court’s response reveals that the court has been diligent in addressing Anders’s numerous

   motions and filings and had sound reasons for denying the motion to expedite.

          Anders fails to cite anything supporting his right to expedited resolution; instead he

   focuses on the merits of his case. And with regard to the merits, we doubt the validity of his

   claims. He asserts that Michigan law requiring a minimum number of votes for nomination in a

   primary is unconstitutionally vague because it does not specify the minimum thresholds for

   write-on candidates. See Mich. Comp. Laws § 168.582. He also claims that election officials

   denied him his rightful position on the general-election ballot by not completing a recount as

   they should have. But Anders cannot establish an indisputable right to the TRO or injunction on

   either of these claims.
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           For one, § 168.582 does not appear vague. It states that it applies to a “person who is

   voted for on a party ballot for a . . . county . . . office . . . whose name is not printed on the ballot

   and who has not filed a nominating petition for the office voted for.” That describes a write-in

   candidate. The statute also establishes the minimum vote thresholds for nomination:

       •   “[N]ot less than .15 of 1% of the total population, as reflected by the last official federal

           census, of the district for which nomination is sought,” and

       •   Not less than whichever of these is greater: “10 votes for the office,” or “a total vote

           equal to 5% of the greatest number of votes cast by the party for any office at the primary

           in the state, congressional, or other district, township, county, city, or ward, for a

           candidate or for all candidates for nomination for an office for which only 1 person is to

           be nominated[.]”

   As the Board has noted in a motion to dismiss in the district court, those numbers for Anders’s

   nomination are, respectively, 2,730 votes; 10 votes; and 4,073 votes.

           And because Michigan law specifies the minimum threshold of votes for nomination—

   being the highest of the above three numbers—Anders is nowhere near qualifying for

   nomination with only eleven votes. So even if he were to succeed on his claim that the recount

   was done incorrectly, he would not be entitled to a place on the ballot. At the very least, this

   undermines his claim of entitlement to relief, which makes a writ of mandamus improper.

           Accordingly, Anders’s petition for writ of mandamus is DENIED.

                                                    ENTERED BY ORDER OF THE COURT




                                                    Deborah S. Hunt, Clerk
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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
      Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
          Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                   Filed: September 16, 2020




   Mr. Andrew A. Paterson Jr.
   Law Office
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   Ann Arbor, MI 48108

   Mr. Drew Davis Van de Grift
   Wayne County Corporation Counsel
   500 Griswold Street
   30th Floor
   Detroit, MI 48226

                        Re: Case No. 20-1880, In re: Shane Anders
                            Originating Case No. : 2:20-cv-12127

   Dear Counsel,

     The Court issued the enclosed Order today in this case.

                                                   Sincerely yours,

                                                   s/Jill E Colyer
                                                   Case Manager
                                                   Direct Dial No. 513-564-7024

   cc: Mr. David J. Weaver

   Enclosure

   No mandate to issue
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

   ROBERT DAVIS,                                      Case No. 20-cv-
   VENIAS JORDAN, JR., and                            Hon.
   LEIGH REED-PRATT,
           Plaintiffs,

   v.

   WAYNE COUNTY BOARD OF CANVASSERS,
              Defendant.
   _________________________________________________________________/
   ANDREW A. PATERSON (P18690)
   Attorney for Plaintiffs
   2893 E. Eisenhower Pkwy
   Ann Arbor, MI 48108
   (248) 568-9712
   aap43@outlook.com
   _________________________________________________________________/

                      COMPLAINT AND JURY DEMAND

         NOW COME Plaintiffs, ROBERT DAVIS, VENIAS JORDAN,

   JR., and LEIGH REED-PRATT, by and through their attorney,

   ANDREW A. PATERSON, and for their Complaint and Jury Demand

   (“Complaint”), state as follows:




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                   I.     NATURE OF PLAINTIFFS’ CLAIMS

      1. Plaintiffs’ claims are brought pursuant to 42 U.S.C. § 1983; 28

         U.S.C. §§ 1331, 1337, 1343, and 1367; and, the Declaratory

         Judgment Act, 28 U.S.C. § 2201, et. seq.

                        II. JURISDICTION AND VENUE

      2. This Court has jurisdiction over Plaintiffs’ claims pursuant to 42

         U.S.C. 1983; 28 U.S.C. §§ 1331, 1332, 1337, 1343, and 1367.

      3. This Court also has jurisdiction to render and issue a declaratory

         judgment pursuant to the Declaratory Judgment Act, 28 U.S.C. §

         2201, et. seq.

      4. Venue is proper in the Eastern District of Michigan under 28

         U.S.C. § 1391(b)(1). Under 28 U.S.C. § 1391(b)(1), venue is proper

         in “a judicial district in which any defendant resides, if all

         defendants are residents of the State in which the district is

         located.” Upon information and belief, all of the named

         Defendants are residents of the State of Michigan or have a place

         of business in the State of Michigan, and at least one of the

         Defendants reside in the Eastern District of Michigan. Therefore,




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         venue is proper within the Eastern District of Michigan under 28

         U.S.C. § 1391(b)(1).1

      5. All events giving rise to the causes of action pleaded and alleged

         herein occurred in the Eastern District of Michigan.

                                        III.    PARTIES

      6. Plaintiffs     repeat,    reallege      and     incorporate,    the    foregoing

         allegations, as though fully set forth and stated herein.

      7. Plaintiff, Robert Davis (“Plaintiff Davis”), is a resident and

         registered voter of the City of Highland Park, County of Wayne,

         State of Michigan. Plaintiff Davis voted in the August 4, 2020

         primary election.

      8. Plaintiff, Venias Jordan, Jr. (“Plaintiff Jordan”), is a resident and

         registered voter of the County of Wayne, State of Michigan.

         Plaintiff Jordan voted in the August 4, 2020 primary election.



   1 Under 28 U.S.C. § 1391(b)(1) venue is proper in “a judicial district in which any

   defendant resides, if all defendants are residents of the State in which the district is
   located.” Furthermore, under 28 U.S.C. § 1391(c)(2), a corporation is deemed to reside
   “in any judicial district in which such defendant is subject to the court’s personal
   jurisdiction.” The determination of the proper venue for a civil action in federal court
   is “generally governed by 28 U.S.C. 1391.” Atlantic Marine Const. Co. v U.S. District.
   Court for W.Dist. of Texas, 571 U.S. 49, 55 (2013). “[T]he court must determine
   whether the case falls within one of the three categories set out in 1391(b). If it does,
   venue is proper[.]” Id. at 55.


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      9. Plaintiff, Leigh Reed-Pratt (“Plaintiff Reed-Pratt”), is a resident

         and registered voter of the City of Detroit, County of Wayne, State

         of Michigan.     Plaintiff Reed-Pratt voted in the August 4, 2020

         primary election.

      10.      Defendant, Wayne County Board of Canvassers (“Defendant

         Board of Canvassers”), pursuant to Mich. Comp. Laws §§168.24a,

         168.24c and 168.822, and 168.826, is the four-member board

         selected    by   a   majority    of    the   Wayne    County     Board    of

         Commissioners that is charged with the statutory duties of

         canvassing, certifying, determining and declaring the results of

         elections held in Wayne County. In accordance with MCL 168.821

         and 168.822, the Defendant Board of Canvassers “shall meet at the

         office of the county clerk no later than 9 a.m. on the Thursday after

         any election held in the county” and “shall then proceed without

         delay to canvass the returns of votes cast for all candidates for

         offices voted for and all questions voted on at the election, according

         to the precinct returns filed with the probate judge or presiding

         probate judge by the several city and township clerks[.]”




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      11.      An actual controversy exists between the Plaintiffs and the

         named Defendants.

       GENERAL ALLEGATIONS AND STATEMENT OF FACTS

      12.      Plaintiffs repeat, reallege and incorporate, the foregoing

         allegations, as though fully set forth and stated herein.

        Candidates Filing To Run For The Office of Wayne County
                              Prosecutor
      13.    On November 4, 2019, Victoria Burton-Harris filed an

         affidavit of identity, along with a $100 filing fee, with the Wayne

         County Clerk to qualify as a candidate for the Democratic Party for

         the office of prosecuting attorney for the County of Wayne.

      14.      On March 18, 2020, Kym Worthy filed an affidavit of identity,

         along with a $100 filing fee, with the Wayne County Clerk to qualify

         as a candidate for the Democratic Party for the office of prosecuting

         attorney for the County of Wayne. (See Kym Worthy’s affidavit

         of identity attached as Exhibit A).

      15.      The filing deadline for a candidate to file an affidavit of

         identity and $100 filing fee to qualify to have their name printed on

         the August 4, 2020 primary election ballot as a candidate for the

         office of Wayne County Prosecutor was by 4 p.m. on April 21, 2020.


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Case
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   Case                     ECF
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         2:20-cv-12127-DPH-APP   No.
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      16.      Kym Worthy and Victoria Burton-Harris were only two (2)

         candidates who timely filed affidavits of identity and the $100 filing

         fee to have their names printed on the August 4, 2020 primary

         election ballot as candidates for the Democratic Party’s nomination

         for the office of Wayne County Prosecutor.

      17.      According to the Wayne County Clerk, no person timely filed

         an affidavit of identity and $100 filing fee by the filing deadline date

         to have their name printed on the August 4, 2020 primary election

         as a candidate for the Republican Party’s nomination for the office

         of Wayne County Prosecutor.

      18.      However, on July 23, 2020, pursuant to Mich. Comp. Laws

         §168.737a(1), Shane Anders timely filed with the Wayne County

         Clerk a declaration of intent to run as a write-in candidate as a

         Republican in the August 4, 2020 primary election for the office of

         Wayne County Prosecutor. (See Shane Anders’ Declaration of

         Intent to Be A Write-In Candidate attached as Exhibit B).

      19.      Pursuant to Mich. Comp. Laws §168.737a(1), the statutory

         deadline for a person to file a declaration of intent to be a write-in




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Case
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         candidate for any office appearing on the August 4, 2020 primary

         election ballot was by 4 p.m. on July 24, 2020.

      20.      As of Friday, July 31, 2020, Shane Anders was the only

         candidate who timely filed with the Wayne County Clerk a

         declaration of intent to run as a write-in candidate as a Republican

         in the August 4, 2020 primary election for the office of Wayne

         County Prosecutor.

      21.      Pursuant to Mich. Comp. Laws §168.191, Shane Anders’

         satisfies the statutory requirements to be eligible to run for the

         office of Wayne County Prosecutor.

                   Victoria Burton-Harris’ State-Court Case

      22.      On or about June 2, 2020, Victoria Burton-Harris, who was a

         democratic candidate for the office of Wayne County Prosecutor,

         filed a legal challenge with the Wayne County Clerk and Wayne

         County Election Commission, challenging the certification of Kym

         Worthy’s name to appear on the August 4, 2020 primary election

         ballot as a candidate for the office of Wayne County Prosecutor for

         the Democratic Party. (See Victoria Burton-Harris’ Legal

         Challenge attached as Exhibit C).


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      2:20-cv-12127-NGE-APP
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      23.      On June 5, 2020, the Wayne County Election Commission

         convened to formally approve and certify the names of the

         candidates whose names would appear on the August 2020 primary

         election ballot.

      24.      However, prior to the June 5, 2020 meeting of the Wayne

         County Election Commission, the Wayne County Clerk issued a

         written determination rejecting Victoria Burton-Harris’ legal

         challenge and further advising that the Wayne County Clerk would

         be certifying Kym Worthy’s name to appear on the August 4, 2020

         primary election ballot as a         candidate for the office of Wayne

         County Prosecutor for the Democratic Party. (See Wayne County

         Clerk’s June 5, 2020 Determination letter attached as

         Exhibit D).

      25.      During the Wayne County Election Commission’s June 5th

         meeting, they also discussed Victoria Burton-Harris’ legal

         challenge.    After hearing arguments from counsel representing

         Victoria Burton-Harris and Kym Worthy, the Wayne County

         Election Commission voted to approve the Wayne County Clerk’s

         certification of Kym Worthy’s name to appear on the August 2020


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CaseCase
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         primary election ballot as a candidate for the office of Wayne

         County Prosecutor for the Democratic Party.

      26.       That same day, on June 5, 2020, Victoria Burton-Harris filed

         a state-court complaint and emergency motion for declaratory

         judgment, writ of mandamus and temporary restraining order in

         the Wayne County Circuit Court.

      27.       Pursuant to the Third Judicial Circuit Court’s Local

         Administrative Order 2017-08, Wayne County Circuit Court Chief

         Judge Tim Kenny (“Chief Judge Kenny”) was automatically

         assigned Victoria Burton-Harris’ election case. (See Local

         Administrative Order 2017-08 attached as Exhibit E).

      28.       Victoria Burton-Harris also filed an ex parte motion for

         temporary restraining order and order to show cause. However,

         Chief Judge Kenny did not grant Victoria Burton-Harris’ ex parte

         motion for temporary restraining order, but instead, entered an

         order to show cause requiring the Wayne County Clerk and

         Wayne County Election Commission to show cause why a writ of

         mandamus and/or preliminary injunction should not issue.




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Case 2:20-cv-12127-NGE-APP
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      29.       Chief Judge Kenny set a hearing for Victoria Burton-Harris’

         order to show cause to be heard on June 15, 2020 at Noon.

      30.       On June 9, 2020, Victoria Burton-Harris filed with the

         Michigan Court of Appeals an emergency Application for Leave to

         Appeal Chief Judge Kenny’s June 8, 2020 order denying Victoria

         Burton Harris’ ex parte motion for temporary restraining order. See

         Michigan Court of Appeals Docket No. 353770.

      31.       That same day, the Michigan Court of Appeals promptly

         entered an order denying Victoria Burton-Harris’ emergency

         Application for Leave to Appeal. See Burton-Harris v Wayne County

         Clerk, unpublished order of the Court of Appeals, entered June 9,

         2020 (Docket No. 353770).2




   2 Notably, Chief Judge Kenny’s June 8, 2020 order to show cause did not explicitly

   state that the state-court denied Victoria Burton Harr’s ex parte motion for temporary
   restraining order. Thus, one could conclude that the Michigan Court of Appeals
   lacked jurisdiction over Victoria Burton-Harris’ emergency application for leave to
   appeal. It is well-settled that the Michigan Court of Appeals has jurisdiction to hear
   appeals from orders, whether they be final orders for purposes of an appeal of right,
   or interlocutory for purposes of an application for leave to appeal. See, generally,
   MCR 7.203(A) & (B); Chen v Wayne State University, 284 Mich App 172, 192-193; 771
   NW2d 820 (2009). Appealable orders, of course, are the written variety, not simply
   oral rulings made by the court from the bench. City of Sterling Heights v Chrysler
   Group LLC, 309 Mich App 676, 682; 873 NW2d 342 (2015). However, Chief Judge
   Kenny never signed and entered a written order denying Victoria Burton-Harris’ ex
   parte motion for temporary restraining order.

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Case 2:20-cv-12127-NGE-APP
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      32.       On June 11, 2020, while the Victoria Burton-Harris election

         case was pending in the state court, community activist Plaintiff

         Davis timely filed an Emergency Motion to Intervene as a plaintiff

         in the case pursuant to MCR 2.209(A)(3) and MCR 2.209(B)(2).

      33.       Chief Judge Kenny set a hearing for Plaintiff Davis’

         emergency motion to intervene to be held on Monday, June 15, 2020

         at Noon, on the same day as Victoria Burton-Harris’ show cause

         hearing.

      34.       On June 15, 2020, Chief Judge Kenny heard arguments in

         Victoria Burton-Harris’ matter and after hearing arguments, Chief

         Judge Kenny denied Plaintiff Davis’ Emergency Motion to

         Intervene on the basis of laches and also denied Victoria Burton-

         Harris’ motions for writ of mandamus and declaratory judgment.

      35.       That same day, Chief Judge Kenny entered a final order

         denying the requested relief and dismissing with prejudice Victoria

         Burton-Harris’ case. (See Chief Judge Kenny’s June 15, 2020

         Order in Burton-Harris case attached as Exhibit F).

      36.       Victoria Burton-Harris chose not to appeal Chief Judge

         Kenny’s erroneous decision.


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      37.       However, on June 29, 2020, Plaintiff Davis timely filed a claim

         of appeal with the Michigan Court of Appeals appealing Chief

         Judge Kenny’s June 15, 2020 Order denying Plaintiff Davis’ motion

         to intervene. See Michigan Court of Appeals Docket No. 353999.

      38.       The next day, on June 30, 2020, Plaintiff Davis filed a motion

         to expedite the appeal along with a motion for immediate

         consideration. On July 1, 2020, the Michigan Court of Appeals

         issued an order granting Plaintiff Davis’ motion for immediate

         consideration, but denying Plaintiff Davis’ motion to expedite the

         appeal. See Vitoria Burton-Harris v Wayne County Clerk,

         unpublished order of the Court of Appeals, entered July 1, 2020

         (Docket No. 353999).

      39.       Undeterred, on July 6, 2020, Plaintiff Davis filed with the

         Michigan Supreme Court an emergency bypass application and

         application for leave to appeal the July 1, 2020 order of the

         Michigan Court of Appeals.

      40.       On July 15, 2020, the Justices of the Michigan Supreme Court

         entered an order granting immediate consideration, but denying

         Plaintiff Davis’ emergency bypass application and application for


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Case 2:20-cv-12127-NGE-APP
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         leave to appeal because the Michigan Supreme Court was “not

         persuaded that the remaining questions presented should be

         reviewed by this Court before consideration by the Court of

         Appeals.” (See Michigan Supreme Court’s July 15, 2020 Order

         attached as Exhibit G).

      41.       Thus, Plaintiff Davis’ appeal of Chief Judge Kenny’s decision

         denying Plaintiff Davis’ motion to intervene in the Burton-Harris’

         election case remains pending in the Michigan Court of Appeals.

         See Michigan Court of Appeals Docket No. 353999.

             Brenda Jones’ Candidacy for U.S. Congress for 13th
                           Congressional District.
      42.     On April 19, 2020, pursuant to Mich. Comp. Laws §§ 168.133

         and 168.558, Brenda Jones filed with the Wayne County Clerk

         nominating petitions along with an affidavit of identity to qualify

         as a candidate for U.S. Congress for the 13th Congressional

         District. (See Brenda Jones’ Affidavit of Identity attached as

         Exhibit H).

      43.       Mich. Comp. Laws §168.558(4) states in relevant part:

                An affidavit of identity must include a statement that as of
                the date of the affidavit, all statements, reports, late filing
                fees, and fines required of the candidate or any candidate
                committee organized to support the candidate's election under
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                the Michigan campaign finance act, 1976 PA 388, MCL
                169.201 to 169.282, have been filed or paid; and a statement
                that the candidate acknowledges that making a false
                statement in the affidavit is perjury, punishable by a fine up
                to $1,000.00 or imprisonment for up to 5 years, or both.

      44.       Mich. Comp. Laws §168.558(4) further provides:

                      An officer shall not certify to the board of election
                      commissioners the name of a candidate who fails to
                      comply with this section, or the name of a candidate who
                      executes an affidavit of identity that contains a false
                      statement with regard to any information or statement
                      required under this section. (emphasis supplied).


      45.       On May 30, 2020, Plaintiff Davis sent an email to Gil Flowers,

         the Campaign Finance Manager for the Office of the Wayne County

         Clerk, seeking to confirm information contained on Defendant

         Wayne County Clerk’s public campaign finance website regarding

         Defendant Jones and her campaign committee for re-election to the

         Detroit City Council. (See Plaintiff Davis’ May 30, 2020 Email

         attached as Exhibit I).

      46.       Specifically, Plaintiff Davis’ May 30th email communication

         sought to confirm that Brenda Jones’ City Council Candidate

         Committee had multiple campaign                 finance reports       and/or

         statements that remained unfiled as of the date of her affidavit of


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         identity and as of the date of Plaintiff Davis’ May 30th email. (See

         Plaintiff Davis’ May 30, 2020 Email attached as Exhibit I).

      47.       On June 2, 2020, Gil Flowers responded and advised Plaintiff

         Davis that “Per our online record this committee has failed to file

         several amendment campaign statements.” (See Gil Flowers’

         June 2, 2020 Email Reply attached as Exhibit I).

      48.       Then on June 1, 2020, Plaintiff Davis sent another email

         communication to Gil Flowers seeking confirmation as to whether

         Brenda Jones had filed a postelection statement required under

         Mich. Comp. Laws §168.848 prior to Defendant Jones assuming the

         duties of Detroit City Councilwoman on January 1, 2018. (See

         Plaintiff Davis’ June 1, 2020 Email to Gil Flowers attached

         as Exhibit J).

      49.       On June 3, 2020, Gil Flowers responded and advised Plaintiff

         Davis that, as of June 3, 2020, neither Brenda Jones nor Wayne

         County Prosecutor Kym Worthy had filed with the Wayne County

         Clerk the postelection statement required under Mich. Comp. Laws

         §168.848. (See Gil Flowers’ June 3, 2020 Response attached

         as Exhibit J).


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      50.       Despite having this information, which included Plaintiff

         Davis’ detailed emails and Gil Flowers’ responses, on June 5, 2020,

         the Wayne County Clerk certified Brenda Jones’ name to the

         Wayne County Election Commission to appear on the August 4,

         2020 primary election ballot as a candidate for the office of U.S.

         Congress for the 13th Congressional District.

      51.       Despite having this information, which included Plaintiff

         Davis’ detailed emails and Gil Flowers’ responses, on June 5, 2020,

         members of the Wayne County Election Commission convened and

         voted to approve the Wayne County Clerk’s certification of Brenda

         Jones’ name to appear on the August 4, 2020 primary election

         ballot.

      52.       The Wayne County Election Commission and Wayne County

         Clerk were aware of the deficiencies in Brenda Jones’ affidavit of

         identity prior to the Wayne County Election Commission convening

         and meeting on June 5, 2020 to approve the Wayne County Clerk’s

         certification of candidates’ names to appear on the primary election

         ballots.




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                               CAUSES OF ACTION

                               COUNT I
     Plaintiffs Davis, Jordan and Reed-Pratt’s Right To Vote Was
     Violated With The Dilution Of Plaintiffs’ Legitimate Votes By
      Defendant County Board of Canvassers Counting Improper
                      Votes Cast For Kym Worthy.

      53.       Plaintiffs repeat, reallege and incorporate, the foregoing

         allegations, as though fully set forth and stated herein.

      54.       This claim is brought by Plaintiffs Davis, Jordan, and Reed-

         Pratt against Defendant Wayne County Board of Canvassers

         pursuant to 42 U.S.C. § 1983 and the Declaratory Judgment Act,

         28 U.S.C. § 2201, et. seq.

      55.       This claim, which is brought by Plaintiffs Davis, Jordan, and

         Reed-Pratt against the Defendant Wayne County Board of

         Canvassers, seeks prospective declaratory and injunctive relief.

      56.       On August 4, 2020, Plaintiff Davis voted in the democratic

         primary election and voted for Victoria Burton-Harris for Wayne

         County Prosecutor.

      57.       On August 4, 2020, Plaintiff Jordan voted in the democratic

         primary election and voted for Victoria Burton-Harris for Wayne

         County Prosecutor.


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      58.       On August 4, 2020, Plaintiff Reed-Pratt voted in the

         democratic primary election and voted for Victoria Burton-Harris

         for Wayne County Prosecutor.

      59.       On Wednesday, August 5, 2020 at 3 p.m., Defendant Wayne

         County Board of Canvassers convened to begin their statutory

         duty of tallying, counting and certifying the election results from

         the August 4, 2020 primary election.

      60.       Prior to their August 5, 2020 meeting, counsel for Plaintiffs

         sent members of the Defendant Wayne County Board of

         Canvassers and their legal counsel, Janet Anderson-Davis, an

         email requesting that the Defendant Wayne County Board of

         Canvassers not to count, tally or certify any votes cast for Kym

         Worthy.

      61.       At the Defendant Wayne County Board of Canvassers’

         August 5, 2020 meeting, Plaintiffs’ counsel spoke during citizens’

         participation and again, requested the members of the Defendant

         Wayne County Board of Canvassers not to count, tally or certify

         any votes cast for Kym Worthy.




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      62.       After Plaintiffs’ counsel spoke during the Defendant Wayne

         County Board of Canvassers’ August 5, 2020 meeting, counsel for

         the Defendant Wayne County Board of Canvassers advised

         Plaintiffs’ counsel on the record that any and all votes cast for

         Kym Worthy would be counted, tallied and certified by the

         Defendant Wayne County Board of Canvassers absent an order for

         a court ordering the Defendant Wayne County Board of

         Canvassers not to count said votes cast for Kym Worthy.

      63.       Pursuant to Mich.Comp.Laws §§ 168.822, 168.824, 168.825,

         and 168.826, Defendant Wayne County Board of Canvassers has

         the statutory duty to count, tally, and certify the election results

         from the August 4, 2020 primary election.

      64.       Pursuant to Mich.Comp.Laws §§ 168.197 and 168.687, the

         Defendant Wayne County Board of Canvassers has the statutory

         duty to certify to the Wayne County Election Commission the

         names of each candidate who received the highest number of votes

         for each political party for the office of Wayne County Prosecutor.

      65.       Mich.Comp.Laws §168.550 provides:

                      No candidate shall have his name printed upon
                      any official primary election ballot of any

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                      political party in any voting precinct in this state
                      unless he shall have filed nominating petitions
                      according to the provisions of this act, and all other
                      requirements of this act have been complied with
                      in his behalf, except in those counties qualifying
                      candidates upon the payment of fees. (Emphasis
                      supplied).

      66.       However, Michigan Election Law allows candidates to

         qualify for the office of prosecuting attorney by filing a $100 filing

         fee in lieu of the nominating petitions. Mich.Comp.Laws

         §168.193(2) provides, in relevant part:


                      (2) To obtain the printing of the name of a candidate of
                      a political party under the particular party's heading
                      upon the primary election ballots in the various voting
                      precincts of the county, there may be filed by the
                      candidate, in lieu of filing nomination petitions, a filing
                      fee of $100.00 to be paid to the county clerk. Payment
                      of the fee and certification of the candidate's
                      name paying the fee shall be governed by the
                      same provisions as in the case of nominating
                      petitions. (Emphasis supplied).

      67.       Mich.Comp.Laws §168.560 provides:

                      Ballots other than those furnished by the board
                      of election commissioners, according to the
                      provisions of this act, shall not be used, cast, or
                      counted in any election precinct at any election.
                      The size of all official ballots shall be as the board of


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                      election commissioners prescribes. (Emphasis
                      supplied).

      68.       As noted, on March 18, 2020, Kym Worthy executed and

         filed her affidavit of identity, along with the $100 filing, with the

         Wayne County Clerk and Gil Flowers. (Exhibit A).

      69.       Kym Worthy did not file two (2) copies of the affidavit of

         identity when she filed the original affidavit of identity with the

         Wayne County Clerk and Gil Flowers on March 18, 2020.

      70.       On June 1, 2020, Plaintiff Davis sent an email

         communication to Gil Flowers seeking confirmation as to whether

         Kym Worthy and Brenda Jones had filed a postelection statement

         required under Mich. Comp. Laws §168.848 (See Plaintiff Davis’

         June 1, 2020 Email to Gil Flowers attached as Exhibit J).

      71.       On June 3, 2020, Gil Flowers responded and advised Activist

         Davis that, as of June 3, 2020, neither Kym Worthy nor Brenda

         Jones had filed with the Wayne County Clerk the postelection

         statement required under Mich. Comp. Laws §168.848. (See Gil

         Flowers’ June 3, 2020 Response attached as Exhibit J).

      72.       Despite having this information, members of the Defendant

         County Election Commission convened and voted to certify and

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         approve Kym Worthy’s name to appear on the August 4, 2020

         primary election ballot.

      73.       Mich. Comp. Laws §168.550 of Michigan Election Law,

         states:

                No candidate shall have his name printed upon any
                official primary election ballot of any political party in
                any voting precinct in this state unless he shall have filed
                nominating petitions according to the provisions of
                this act, and all other requirements of this act have
                been complied with in his behalf, except in those counties
                qualifying candidates upon the payment of fees. (emphasis
                supplied).

      74.       Mich. Comp. Laws §168.558(1) of Michigan Election Law,

         states in relevant part:

                (1) When filing a nominating petition, qualifying petition,
                filing fee, or affidavit of candidacy for a federal, county,
                state, city, township, village, metropolitan district, or school
                district office in any election, a candidate shall file with
                the officer with whom the petitions, fee, or affidavit is filed
                2 copies of an affidavit of identity. (emphasis supplied).


      75.       Mich. Comp. Laws §168.558(4) of Michigan Election Law,

         further provides in pertinent part:

                (4) An affidavit of identity must include a statement that as
                of the date of the affidavit, all statements, reports, late filing
                fees, and fines required of the candidate or any candidate

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                committee organized to support the candidate's election
                under the Michigan campaign finance act, 1976 PA 388,
                MCL 169.201 to 169.282, have been filed or paid; and a
                statement that the candidate acknowledges that making a
                false statement in the affidavit is perjury, punishable by a
                fine up to $1,000.00 or imprisonment for up to 5 years, or
                both. If a candidate files the affidavit of identity with an
                officer other than the county clerk or secretary of state, the
                officer shall immediately forward to the county clerk 1 copy
                of the affidavit of identity by first-class mail. The county
                clerk shall immediately forward 1 copy of the affidavit of
                identity for state and federal candidates to the secretary of
                state by first-class mail. An officer shall not certify to the
                board of election commissioners the name of a
                candidate who fails to comply with this section, or the
                name of a candidate who executes an affidavit of
                identity that contains a false statement with regard to
                any information or statement required under this
                section. (emphasis supplied).

      76.       The ballot for the democratic primary for the office of Wayne

         County Prosecutor was not printed in accordance with Michigan

         Election Law because it included the name of Kym Worthy, whose

         name should not have been printed thereon.

      77.       Kym Worthy’s name should not have been printed on the

         August 4, 2020 primary election ballot as a candidate for Wayne

         County Prosecutor because (1) Kym Worthy failed to file 2 copies

         of her affidavit of identity as required under Mich.Comp.Laws

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         §168.558(1); and (2) Kym Worthy submitted an affidavit of

         identity that contained a false statement in violation of

         Mich.Comp.Laws §168.558(4).

      78.       Thus, pursuant to Mich.Comp.Laws §168.560, the votes cast

         for Kym Worthy cannot be counted by the Defendant Wayne

         County Board of Canvassers.

      79.       The counting, tallying and certification of the votes cast for

         Kym Worthy by the Defendant Wayne County Board of

         Canvassers will dilute the lawful votes cast by Plaintiffs Davis,

         Jordan and Reed-Pratt for Victoria Burton-Harris.

      80.       The dilution of Plaintiffs Davis, Jordan and Reed-Pratt’s

         lawful votes violates Plaintiffs Davis, Jordan and Reed-Pratt’s

         fundamental right to vote and to have their votes counted.

      81.       The lawful votes cast by Plaintiffs Davis, Jordan and Reed-

         Pratt for Victoria Burton-Harris will be nullified and cancelled out

         by the Defendant Wayne County Board of Canvassers’ actions of

         counting and certifying the improper votes cast for Kym Worthy.

      82.       Chief Judge Kenny’s decision in the Victoria Burton-Harris

         state-court case amounted to an officially-sponsored election


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         procedure, which in its basis respects was flawed to the level of

         fundamental unfairness.

      83.       Plaintiffs Davis, Jordan and Reed-Pratt have a fundamental

         right to have their votes counted, which can only be achieved by

         the Defendant Wayne County Board of Canvassers not being

         permitted to count, tally or certify any votes cast for Kym Worthy.

         WHEREFORE, Plaintiffs Davis, Jordan and Reed-Pratt request

   this Court enters judgment against Defendant Wayne County Board of

   Canvassers as follows:

            a. compensatory damages in whatever amount above $75,000.00
               Plaintiffs are found to be entitled;
            b. an award of exemplary and punitive damages;
            c. an award of interest, costs and reasonable attorney fees under
               42 USC §1988;
            d. a declaration that Plaintiffs Davis, Jordan and Reed-Pratt’s
               fundamental right to vote and to have their votes counted
               have been violated by the Defendant Wayne County Board of
               Canvassers by counting and/or certifying votes cast for Kym
               Worthy;
            e. a declaration that Plaintiffs Davis, Jordan and Reed-Pratt’s
               votes have been diluted with votes cast for Kym Worthy in
               the August 4, 2020 primary election being counted and
               certified by the Defendant Wayne County Board of
               Canvassers;
            f. a declaration that Defendant Wayne County Board of
               Canvassers cannot count and/or certify any votes cast for Kym
               Worthy in the August 4, 2020 primary election;
            g. a declaration that the ballots printed with Kym Worthy’s
               name on them were not printed in accordance with Michigan

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               Election Law and thus, pursuant to Mich.Comp.Laws
               §168.560, said ballots cannot be counted by the Defendant
               Wayne County Board of Canvassers;
            h. a declaration that Kym Worthy submitted an affidavit of
               identity containing a false statement in violation of
               Mich.Comp.Laws §168.558;
            i. a declaration that Kym Worthy failed to file 2 copies of her
               affidavit of identity in violation of Mich.Comp.Laws §168.558;
            j. an injunction enjoining the Defendant Wayne County Board
               of Canvassers from counting, tallying, and/or certifying any
               votes cast for Kym Worthy in the August 4, 2020 primary
               election; and
            k. an order awarding whatever other equitable relief appears
               appropriate at the time of final judgment.


                               COUNT II
      Plaintiffs Davis, Jordan and Reed-Pratt’s Substantive Due
       Process Rights Have Been Violated With The Dilution Of
      Plaintiffs’ Legitimate Votes By Defendant County Board of
     Canvassers Counting Improper Votes Cast For Kym Worthy.

      84.       Plaintiffs repeat, reallege and incorporate, the foregoing

         allegations, as though fully set forth and stated herein.

      85.       This claim is brought by Plaintiffs Davis, Jordan, and Reed-

         Pratt against Defendant Wayne County Board of Canvassers

         pursuant to 42 U.S.C. § 1983 and the Declaratory Judgment Act,

         28 U.S.C. § 2201, et. seq.




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      86.       This claim, which is brought by Plaintiffs Davis, Jordan, and

         Reed-Pratt against the Defendant Wayne County Board of

         Canvassers, seeks prospective declaratory and injunctive relief.

      87.       On August 4, 2020, Plaintiff Davis voted in the democratic

         primary election and voted for Victoria Burton-Harris for Wayne

         County Prosecutor.

      88.       On August 4, 2020, Plaintiff Jordan voted in the democratic

         primary election and voted for Victoria Burton-Harris for Wayne

         County Prosecutor.

      89.       On August 4, 2020, Plaintiff Reed-Pratt voted in the

         democratic primary election and voted for Victoria Burton-Harris

         for Wayne County Prosecutor.

      90.       On Wednesday, August 5, 2020 at 3 p.m., Defendant Wayne

         County Board of Canvassers convened to begin their statutory

         duty of tallying, counting and certifying the election results from

         the August 4, 2020 primary election.

      91.       Prior to their August 5, 2020 meeting, counsel for Plaintiffs

         sent members of the Defendant Wayne County Board of

         Canvassers and their legal counsel, Janet Anderson-Davis, an


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         email requesting that the Defendant Wayne County Board of

         Canvassers not to count, tally or certify any votes cast for Kym

         Worthy.

      92.       At the Defendant Wayne County Board of Canvassers’

         August 5, 2020 meeting, Plaintiffs’ counsel spoke during citizens’

         participation and again, requested the members of the Defendant

         Wayne County Board of Canvassers not to count, tally or certify

         any votes cast for Kym Worthy.

      93.       After Plaintiffs’ counsel spoke during the Defendant Wayne

         County Board of Canvassers’ August 5, 2020 meeting, counsel for

         the Defendant Wayne County Board of Canvassers advised

         Plaintiffs’ counsel on the record that any and all votes cast for

         Brenda Jones would be counted, tallied and certified by the

         Defendant Wayne County Board of Canvassers absent an order for

         a court ordering the Defendant Wayne County Board of

         Canvassers not to count said votes cast for Kym Worthy.

      94.       Pursuant to Mich.Comp.Laws §§ 168.822, 168.824, 168.825,

         and 168.826, Defendant Wayne County Board of Canvassers has




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         the statutory duty to count, tally, and certify the election results

         from the August 4, 2020 primary election.

      95.       Pursuant to Mich.Comp.Laws §§ 168.197 and 168.687, the

         Defendant Wayne County Board of Canvassers has the statutory

         duty to certify to the Wayne County Election Commission the

         names of each candidate who received the highest number of votes

         for each political party for the office of Wayne County Prosecutor.

      96.       The counting, tallying and certification of the votes cast for

         Kym Worthy by the Defendant Wayne County Board of

         Canvassers will dilute the lawful votes cast by Plaintiffs Davis,

         Jordan and Reed-Pratt for Victoria Burton-Harris.

      97.       The dilution of Plaintiffs Davis, Jordan and Reed-Pratt’s

         lawful votes violates Plaintiffs Davis, Jordan and Reed-Pratt’s

         fundamental right to vote and to have their votes counted.

      98.       The lawful votes cast by Plaintiffs Davis, Jordan and Reed-

         Pratt for Victoria Burton-Harris will be nullified and cancelled out

         by the Defendant Wayne County Board of Canvassers’ actions of

         counting and certifying the improper votes cast for Kym Worthy.




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      99.       Chief Judge Kenny’s decision in the Victoria Burton-Harris

         state-court case amounted to an officially-sponsored election

         procedure, which in its basis respects was flawed to the level of

         fundamental unfairness.

      100.      Plaintiffs Davis, Jordan and Reed-Pratt have a fundamental

         right to have their votes counted, which can only be achieved by

         the Defendant Wayne County Board of Canvassers not being

         permitted to count, tally or certify any votes cast for Kym Worthy.

         WHEREFORE, Plaintiffs Davis, Jordan and Reed-Pratt request

   this Court enters judgment against Defendant Wayne County Board of

   Canvassers as follows:

                a. compensatory damages in whatever amount above
                   $75,000.00 Plaintiffs are found to be entitled;
                b. an award of exemplary and punitive damages;
                c. an award of interest, costs and reasonable attorney fees
                   under 42 USC §1988;
                d. a declaration that Plaintiffs Davis, Jordan and Reed-
                   Pratt’s substantive due process rights have been violated
                   by the Defendant Wayne County Board of Canvassers;
                e. a declaration that Plaintiffs Davis, Jordan and Reed-
                   Pratt’s fundamental right to vote and to have their votes
                   counted have been violated by Defendant Wayne County
                   Board of Canvassers with the counting and/or certification
                   of votes cast for Kym Worthy;
                f. a declaration that Plaintiffs Davis, Jordan and Reed-
                   Pratt’s votes have been diluted with the counting and
                   certification of votes cast for Kym Worthy in the August 4,

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                   2020 primary election by the Defendant Wayne County
                   Board of Canvassers;
                g. a declaration that Defendant Wayne County Board of
                   Canvassers cannot count and/or certify any votes cast for
                   Kym Worthy in the August 4, 2020 primary election;
                h. a declaration that the ballots printed with Kym Worthy’s
                   name on them were not printed in accordance with
                   Michigan Election Law and thus, pursuant to
                   Mich.Comp.Laws §168.560, said ballots cannot be counted
                   by the Defendant Wayne County Board of Canvassers;
                i. a declaration that Kym Worthy submitted an affidavit of
                   identity containing a false statement in violation of
                   Mich.Comp.Laws §168.558;
                j. a declaration that Kym Worthy failed to file 2 copies of her
                   affidavit of identity in violation of Mich.Comp.Laws
                   §168.558;
                k. an injunction enjoining the Defendant Wayne County
                   Board of Canvassers from counting, tallying, and/or
                   certifying any votes cast for Kym Worthy in the August 4,
                   2020 primary election; and
                l. an order awarding whatever other equitable relief appears
                   appropriate at the time of final judgment.


                              COUNT III
   Plaintiff Jordan’s Right To Vote Was Violated With The Dilution
    Of Plaintiffs’ Legitimate Votes By Defendant County Board of
    Canvassers Counting Improper Votes Cast For Brenda Jones.

      101.      Plaintiffs repeat, reallege and incorporate, the foregoing

         allegations, as though fully set forth and stated herein.

      102.      This claim is brought by Plaintiff Jordan against Defendant

         Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

         and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

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      103.      This claim, which is brought by Plaintiff Jordan against the

         Defendant Wayne County Board of Canvassers, seeks prospective

         declaratory and injunctive relief.

      104.      On August 4, 2020, Plaintiff Davis voted in the democratic

         primary election and voted for incumbent U.S. Congresswoman

         Rashida Tlaib for U.S. Congress for the 13th Congressional

         District.

      105.      On August 4, 2020, Plaintiff Jordan voted in the democratic

         primary election and voted for incumbent U.S. Congresswoman

         Rashida Tlaib for U.S. Congress for the 13th Congressional

         District.

      106.      On Wednesday, August 5, 2020 at 3 p.m., Defendant Wayne

         County Board of Canvassers convened to begin their statutory

         duty of tallying, counting and certifying the election results from

         the August 4, 2020 primary election.

      107.      Prior to their August 5, 2020 meeting, counsel for Plaintiffs

         sent members of the Defendant Wayne County Board of

         Canvassers and their legal counsel, Janet Anderson-Davis, an

         email requesting that the Defendant Wayne County Board of


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         Canvassers not to count, tally or certify any votes cast for Brenda

         Jones.

      108.      At the Defendant Wayne County Board of Canvassers’

         August 5, 2020 meeting, Plaintiffs’ counsel spoke during citizens’

         participation and again, requested the members of the Defendant

         Wayne County Board of Canvassers not to count, tally or certify

         any votes cast for Brenda Jones.

      109.      After Plaintiffs’ counsel spoke during the Defendant Wayne

         County Board of Canvassers’ August 5, 2020 meeting, counsel for

         the Defendant Wayne County Board of Canvassers advised

         Plaintiffs’ counsel on the record that any and all votes cast for

         Brenda Jones would be counted, tallied and certified by the

         Defendant Wayne County Board of Canvassers absent an order for

         a court ordering the Defendant Wayne County Board of

         Canvassers not to count said votes cast for Brenda Jones.

      110.      Pursuant to Mich.Comp.Laws §§ 168.822, 168.824, 168.825,

         and 168.826, Defendant Wayne County Board of Canvassers has

         the statutory duty to count, tally, and certify the election results

         from the August 4, 2020 primary election.


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      111.      Pursuant to Mich.Comp.Laws §§ 168.137, the Defendant

         Wayne County Board of Canvassers has the statutory duty to

         certify to the State Board of Canvassers the names of each

         candidate who received the highest number of votes for each

         political party for the office of U.S. Congress.

      112.      Mich.Comp.Laws §168.550 provides:

                      No candidate shall have his name printed upon
                      any official primary election ballot of any
                      political party in any voting precinct in this state
                      unless he shall have filed nominating petitions
                      according to the provisions of this act, and all other
                      requirements of this act have been complied with
                      in his behalf, except in those counties qualifying
                      candidates upon the payment of fees. (Emphasis
                      supplied).

      113.      Pursuant to Mich.Comp.Laws §168.133, “[i]n order for the

         name of a person as a candidate for nomination by a political

         party for the office of representative in congress to appear under a

         particular party heading on the official primary ballot in the

         election precincts of a congressional district, a nominating petition

         shall have been signed by a number of qualified and registered

         electors residing in the district as determined under section 544f

         [Mich.Comp.Laws §168.544f].”

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      114.      Mich. Comp. Laws §168.558(1) of Michigan Election Law,

         states in relevant part:


                (1) When filing a nominating petition, qualifying
                petition, filing fee, or affidavit of candidacy for a federal,
                county, state, city, township, village, metropolitan district, or
                school district office in any election, a candidate shall
                file with the officer with whom the petitions, fee, or
                affidavit is filed 2 copies of an affidavit of identity.
                (emphasis supplied).

      115.      Mich. Comp. Laws §168.558(4) of Michigan Election Law,

         further provides in pertinent part:


                (4) An affidavit of identity must include a statement
                that as of the date of the affidavit, all statements,
                reports, late filing fees, and fines required of the
                candidate or any candidate committee organized to
                support the candidate's election under the Michigan
                campaign finance act, 1976 PA 388, MCL 169.201 to
                169.282, have been filed or paid; and a statement that the
                candidate acknowledges that making a false statement in
                the affidavit is perjury, punishable by a fine up to $1,000.00
                or imprisonment for up to 5 years, or both. If a candidate
                files the affidavit of identity with an officer other than the
                county clerk or secretary of state, the officer shall
                immediately forward to the county clerk 1 copy of the
                affidavit of identity by first-class mail. The county clerk shall
                immediately forward 1 copy of the affidavit of identity for
                state and federal candidates to the secretary of state by first-
                class mail. An officer shall not certify to the board of
                election commissioners the name of a candidate who

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                fails to comply with this section, or the name of a
                candidate who executes an affidavit of identity that
                contains a false statement with regard to any
                information or statement required under this section.
                (emphasis supplied).

      116.      It is undisputed that Brenda Jones did not file two (2) copies

         of her affidavit of identity when she filed to run for U.S. Congress

         as required under Mich.Comp.Laws §168.558(1).

      117.      It is undisputed that Brenda Jones’ candidate committee for

         her election to the Detroit City Council had numerous campaign

         finance reports and/or statements that were outstanding and due

         as of the date she executed her affidavit of identity to run for U.S.

         Congress for the 13th Congressional District.

      118.      It is undisputed that as of the date Brenda Jones executed

         her affidavit of identity to run for U.S. Congress for the 13th

         Congressional District, she had not to filed with the Wayne

         County Clerk’s officer her postelection statement required under

         Mich.Comp.Laws §168.848.

      119.      The ballot for the democratic primary for the office of U.S.

         Congress for the 13th Congressional District was not printed in

         accordance with Michigan Election Law because it included the


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         name of Brenda Jones, whose name should not have been printed

         thereon.

      120.      Brenda Jones’ name should not have been printed on the

         August 4, 2020 primary election ballot as a candidate for U.S.C

         Congress because (1) Brenda Jones failed to file 2 copies of her

         affidavit of identity as required under Mich.Comp.Laws

         §168.558(1); and (2) Brenda Jones submitted an affidavit of

         identity that contained a false statement in violation of

         Mich.Comp.Laws §168.558(4).

      121.      Thus, pursuant to Mich.Comp.Laws §168.560, the votes cast

         for Brenda Jones cannot be counted by the Defendant Wayne

         County Board of Canvassers.

      122.      The counting, tallying and certification of the votes cast for

         Brenda Jones by the Defendant Wayne County Board of

         Canvassers will dilute the lawful vote cast by Plaintiff Jordan for

         Rashida Tlaib.

      123.      The dilution of Plaintiff Jordan’s lawful vote violates

         Plaintiff Jordan’s fundamental right to vote and to have his vote

         counted.


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      124.      The lawful vote cast by Plaintiff Jordan for Rashida Tlaib

         will be nullified and cancelled out by the Defendant Wayne

         County Board of Canvassers’ actions of counting and certifying the

         improper votes cast for Brenda Jones.

      125.      Chief Judge Kenny’s decision in the state-court case

         amounted to an officially-sponsored election procedure, which in

         its basis respects was flawed to the level of fundamental

         unfairness.

      126.      Plaintiff Jordan has a fundamental right to have his vote

         counted, which can only be achieved by the Defendant Wayne

         County Board of Canvassers not being permitted to count, tally or

         certify any votes cast for Brenda Jones.

         WHEREFORE, Plaintiff Jordan requests this Court enters

   judgment against Defendant Wayne County Board of Canvassers as

   follows:

                a. compensatory damages in whatever amount above
                   $75,000.00 Plaintiff Jordan is found to be entitled;
                b. an award of exemplary and punitive damages;
                c. an award of interest, costs and reasonable attorney fees
                   under 42 USC §1988;
                d. a declaration that Plaintiff Jordan’s fundamental right to
                   vote and to have his vote counted has been violated by the


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                   Defendant Wayne County Board of Canvassers by counting
                   and/or certifying votes cast for Brenda Jones;
                e. a declaration that Plaintiff Jordan’s vote has been diluted
                   with votes cast for Brenda Jones in the August 4, 2020
                   primary election being counted and certified by the
                   Defendant Wayne County Board of Canvassers;
                f. a declaration that Defendant Wayne County Board of
                   Canvassers cannot count and/or certify any votes cast for
                   Brenda Jones in the August 4, 2020 primary election;
                g. a declaration that the ballots printed with Brenda Jones’
                   name on them were not printed in accordance with
                   Michigan Election Law and thus, pursuant to
                   Mich.Comp.Laws §168.560, said ballots cannot be counted
                   by the Defendant Wayne County Board of Canvassers;
                h. a declaration that Brenda Jones submitted an affidavit of
                   identity containing a false statement in violation of
                   Mich.Comp.Laws §168.558;
                i. a declaration that Brenda Jones failed to file 2 copies of her
                   affidavit of identity in violation of Mich.Comp.Laws
                   §168.558;
                j. an injunction enjoining the Defendant Wayne County
                   Board of Canvassers from counting, tallying, and/or
                   certifying any votes cast for Brenda Jones in the August 4,
                   2020 primary election; and
                k. an order awarding whatever other equitable relief appears
                   appropriate at the time of final judgment.


                              COUNT IV
     Plaintiff Jordan’s Substantial Due Process Rights Are Being
   Violated By The Defendant Wayne County Board of Canvassers
   As A Result of the Dilution Of Plaintiff Jordan’s Legitimate Vote
    By Defendant County Board of Canvassers Counting Improper
                    Votes Cast For Brenda Jones.

      127.      Plaintiffs repeat, reallege and incorporate, the foregoing

         allegations, as though fully set forth and stated herein.

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      128.      This claim is brought by Plaintiff Jordan against Defendant

         Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

         and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

      129.      This claim, which is brought by Plaintiff Jordan against the

         Defendant Wayne County Board of Canvassers, seeks prospective

         declaratory and injunctive relief.

      130.      On August 4, 2020, Plaintiff Davis voted in the democratic

         primary election and voted for incumbent U.S. Congresswoman

         Rashida Tlaib for U.S. Congress for the 13th Congressional

         District.

      131.      On August 4, 2020, Plaintiff Jordan voted in the democratic

         primary election and voted for incumbent U.S. Congresswoman

         Rashida Tlaib for U.S. Congress for the 13th Congressional

         District.

      132.      On Wednesday, August 5, 2020 at 3 p.m., Defendant Wayne

         County Board of Canvassers convened to begin their statutory

         duty of tallying, counting and certifying the election results from

         the August 4, 2020 primary election.




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      133.      Pursuant to Mich.Comp.Laws §§ 168.822, 168.824, 168.825,

         and 168.826, Defendant Wayne County Board of Canvassers has

         the statutory duty to count, tally, and certify the election results

         from the August 4, 2020 primary election.

      134.      Pursuant to Mich.Comp.Laws §§ 168.137, the Defendant

         Wayne County Board of Canvassers has the statutory duty to

         certify to the State Board of Canvassers the names of each

         candidate who received the highest number of votes for each

         political party for the office of U.S. Congress.

      135.      It is undisputed that Brenda Jones did not file two (2) copies

         of her affidavit of identity when she filed to run for U.S. Congress

         as required under Mich.Comp.Laws §168.558(1).

      136.      It is undisputed that Brenda Jones’ candidate committee for

         her election to the Detroit City Council had numerous campaign

         finance reports and/or statements that were outstanding and due

         as of the date she executed her affidavit of identity to run for U.S.

         Congress for the 13th Congressional District.

      137.      It is undisputed that as of the date Brenda Jones executed

         her affidavit of identity to run for U.S. Congress for the 13th


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         Congressional District, she had not to filed with the Wayne

         County Clerk’s officer her postelection statement required under

         Mich.Comp.Laws §168.848.

      138.      The ballot for the democratic primary for the office of U.S.

         Congress for the 13th Congressional District was not printed in

         accordance with Michigan Election Law because it included the

         name of Brenda Jones, whose name should not have been printed

         thereon.

      139.      Brenda Jones’ name should not have been printed on the

         August 4, 2020 primary election ballot as a candidate for U.S.C

         Congress because (1) Brenda Jones failed to file 2 copies of her

         affidavit of identity as required under Mich.Comp.Laws

         §168.558(1); and (2) Brenda Jones submitted an affidavit of

         identity that contained a false statement in violation of

         Mich.Comp.Laws §168.558(4).

      140.      Thus, pursuant to Mich.Comp.Laws §168.560, the votes cast

         for Brenda Jones cannot be counted by the Defendant Wayne

         County Board of Canvassers.




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      141.      The counting, tallying and certification of the votes cast for

         Brenda Jones by the Defendant Wayne County Board of

         Canvassers will dilute the lawful votes cast by Plaintiff Jordan for

         Rashida Tlaib.

      142.      The dilution of Plaintiff Jordan’s lawful vote violates

         Plaintiff Jordan’s fundamental right to vote and to have his vote

         counted.

      143.      The lawful vote cast by Plaintiff Jordan for Rahida Tlaib

         will be nullified and cancelled out by the Defendant Wayne

         County Board of Canvassers’ actions of counting and certifying the

         improper votes cast for Brenda Jones.

      144.      Chief Judge Kenny’s decision in the state-court case

         amounted to an officially-sponsored election procedure, which in

         its basis respects was flawed to the level of fundamental

         unfairness.

      145.      Plaintiff Jordan has a fundamental right to have his vote

         counted, which can only be achieved by the Defendant Wayne

         County Board of Canvassers not being permitted to count, tally or

         certify any votes cast for Brenda Jones.


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         WHEREFORE, Plaintiff Jordan requests this Court enters

   judgment against Defendant Wayne County Board of Canvassers as

   follows:

                   a. compensatory damages in whatever amount above
                      $75,000.00 Plaintiff Jordan is found to be entitled;
                   b. an award of exemplary and punitive damages;
                   c. an award of interest, costs and reasonable attorney fees
                      under 42 USC §1988;
                   d. a declaration that Plaintiff Jordan’s substantial due
                      process rights were violated by the Defendant Wayne
                      County Board of Canvassers with the counting, tallying
                      and certification of votes cast for Brenda Jones;
                   e. a declaration that Plaintiff Jordan’s vote has been
                      diluted with votes cast for Brenda Jones in the August
                      4, 2020 primary election being counted and certified by
                      the Defendant Wayne County Board of Canvassers;
                   f. a declaration that Defendant Wayne County Board of
                      Canvassers cannot count and/or certify any votes cast
                      for Brenda Jones in the August 4, 2020 primary election;
                   g. a declaration that the ballots printed with Brenda Jones’
                      name on them were not printed in accordance with
                      Michigan Election Law and thus, pursuant to
                      Mich.Comp.Laws §168.560, said ballots cannot be
                      counted by the Defendant Wayne County Board of
                      Canvassers;
                   h. a declaration that Brenda Jones submitted an affidavit
                      of identity containing a false statement in violation of
                      Mich.Comp.Laws §168.558;
                   i. a declaration that Brenda Jones failed to file 2 copies of
                      her affidavit of identity in violation of Mich.Comp.Laws
                      §168.558;
                   j. an injunction enjoining the Defendant Wayne County
                      Board of Canvassers from counting, tallying, and/or
                      certifying any votes cast for Brenda Jones in the August
                      4, 2020 primary election; and

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                   k. an order awarding whatever other equitable relief
                      appears appropriate at the time of final judgment.


   Dated: August 7, 2020                  Respectfully submitted,

                                          /s/ ANDREW A. PATERSON
                                         ANDREW A. PATERSON (P18690)
                                         Attorney for Plaintiffs
                                         2893 E. Eisenhower Pkwy
                                         Ann Arbor, MI 48108
                                         (248) 568-9712
                                          aap43@outlook.com




                               JURY DEMAND
         Plaintiffs, through counsel, respectfully demand a jury trial on all

   issues triable to a jury.

   Dated: August 7, 2020                  Respectfully submitted,
                                         /s/ ANDREW A. PATERSON
                                         ANDREW A. PATERSON (P18690)
                                         Attorney for Plaintiffs
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                                         Ann Arbor, MI 48108
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                        UNITES STATES DISCTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

    ROBERT DAVIS, VENIAS JORDAN
    JR., and LEIGH REED-PRATT,
          Plaintiffs,
    vs.                                                  Case No. 20-cv-12127
                                                         Hon. Nancy G. Edmunds
    WAYNE COUNTY BOARD OF
    CANVASSER,
          Defendants.
    and
    KYM WORTHY
          Intervenor-Defendant.

    Andrew A. Paterson, JR. (P18690)              Melvin Butch Hollowell (P37834)
    Attorney for Plaintiffs                       Angela L. Baldwin (P81565)
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    Ann Arbor, MI 48108                           Attorneys for Intervenor-Defendant
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                                                  James W. Heath (P65419)
                                                  Wayne County Corporation Counsel
                                                  Janet Anderson-Davis (P29499)
                                                  Assistant Corporation Counsel
                                                  Attorneys for Defendant Wayne
                                                  County
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                                                  (313) 347-5813
                                                  jandersn@waynecounty.com
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                          PROSECUTOR KYM L. WORTHY’S
                             MOTION TO INTERVENE

          Wayne County Prosecutor Kym L. Worthy (“Prosecutor Worthy”), by and

   through her attorneys, moves to intervene as a defendant in this matter pursuant to

   MCR 2.209(A) and MCR 2.209(B), relies upon the attached Brief in Support of her

   Motion to Intervene, and states as follows:

          1.     The heart of this litigation arises out of the Wayne County Third Circuit

   Court Case No. 20-007116-AW, where Prosecutor Worthy was a candidate for re-

   election to the position of Wayne County Prosecuting Attorney and her candidacy

   was unsuccessfully challenged.

          2.     Plaintiff Robert Davis unsuccessful in his attempt to intervene in that

   case and his motion was denied as competing candidate for Wayne County

   Prosecutor was already a party and was vigorously represented by legal counsel.

          3.     Plaintiff is currently challenging Prosecutor Worthy’s candidacy in this

   matter for the August 4, 2020 Primary and November 4, 2020 General Election.

          4.     Plaintiff has filed similar challenges arising out of the same facts in

   Wayne County Circuit Court, Michigan Court of Appels, Michigan Supreme Court,

   and the U.S. Eastern District of Michigan before Judge Leitman which was recently

   dismissed.1


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    On August 17, 2020 Judge Letiman declined to exercise supplemental jurisdiction and
   dismissed the state law claim.The federal claims are pending in Case Number 20-cv-11991.
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          5.     Prosecutor Worthy seeks to intervene as a matter of right in this action

   pursuant to MCR 2.209(A) and permissively under MCR 2.209(B).

          6.     Prosecutor Worthy, as candidate for office, is a party with an interest

   relating to the subject of the action whose rights cannot be adequately represented

   by the parties in this matter.

          7.     MCR 2.209 should be liberally construed to allow intervention when

   the applicants interest otherwise may be inadequately represented. Precision Pipe &

   Supply, Inc. v. Meram Construction, Inc., 195 Mich. App. 153, 156; 489 N.W.2d

   166 (1992).

          8.     Prosecutor Worthy’s Motion is timely and permitting her invention

   will, in no way, unduly delay or prejudice the adjudication of the rights of the

   original parties because this suit is in its initial phase.

          WHEREFORE, for the foregoing reasons, Intervening Defendant Prosecutor

   Worthy requests that this Honorable Court grant the instant Motion to Intervene

   pursuant to MCR 2.209(A) and MCR 2.209(B).

                                                    Respectfully Submitted,

                                                     /s/_Angela L. Baldwin
                                                    Melvin Butch Hollowell (P37834)
                                                    Angela L. Baldwin (P81565)
                                                    THE MILLER LAW FIRM, P.C.
                                                    Attorneys for Intervenor Defendant
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   Dated: August 21, 2020                           (313) 483-0880
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                        UNITES STATES DISCTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

    ROBERT DAVIS, VENIAS JORDAN
    JR., and LEIGH REED-PRATT,

          Plaintiffs,

    vs.                                                  Case No. 20-cv-12127
                                                         Hon. Nancy G. Edmunds
    WAYNE COUNTY BOARD OF
    CANVASSER,
          Defendants.
    and
    KYM WORTHY

          Intervenor-Defendant.
    Andrew A. Paterson, JR. (P18690)              Melvin Butch Hollowell (P37834)
    Attorney for Plaintiffs                       Angela L. Baldwin (P81565)
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                                                  Wayne County Corporation Counsel
                                                  Janet Anderson-Davis (P29499)
                                                  Assistant Corporation Counsel
                                                  Attorneys for Defendant Wayne County
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             PROSECUTOR KYM L. WORTHY’S BRIEF IN SUPPORT
                    OF HER MOTION TO INTERVENE


          Around June 3, 2020 Victoria Burton-Harris (“Burton-Harris”) submitted a

   letter to the Wayne County Clerk (“County Clerk”) challenging the candidacy of

   Prosecutor Worthy for the Office of Wayne County Prosecutor in the August 4, 2020

   Primary Election. On June 4, 2020 Prosecutor Worthy filed her response with the

   County Clerk. At its June 5, 2020 meeting, the Wayne County Election Commission

   rejected the challenge. Under advice of County Corporation Counsel and after oral

   argument, the County Clerk properly determined that Prosecutor Worthy had

   complied with the mandatory statute. As a result, Prosecutor Worthy’s candidacy

   was approved to appear on the August 4, 2020 Primary Election ballot.

          On June 5, 2020, Burton-Harris filed a Verified Complaint for a Writ of

   Mandamus, Injunctive and Declaratory Relief, and an Ex Parte Emergency Motion

   for Temporary Restraining Order (“TRO”) in Wayne County Third Circuit Court.

   Chief Judge Kenny denied the Ex Parte Motion for TRO and entered an Order for

   Defendants to Show Cause why a Writ of Mandamus and Preliminary Injunction

   should not be issued.2 On June 11, 2020, Plaintiff, Robert Davis, (“Plaintiff” or

   “Davis”) filed an Emergency Motion to Intervene. On June 15, 2020 after extensive


   2
    Burton-Harris filed an Emergency Application for Leave to Appeal Judge Kenny’s Order denying
   her Ex Parte Motion for TRO, which was also denied by the Court of Appeals. (Docket No.
   353770).
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   briefing and oral arguments, the court denied Davis’ Motion to Intervene and denied

   Burton-Harris’ Motion for Writ of Mandamus and Declaratory Judgment. Two

   weeks later, on June 29, 2020, Davis filed an appeal with the Michigan Court of

   Appeals not only with respect to the denial of his Motion to Intervene, but also with

   Chief Judge Kenny’s substantive ruling on Burton-Harris’ Motion even though he

   was not a party. This matter remains pending before the Michigan Court of Appeals

   Docket No. 353999. Simultaneously, Davis filed with the Michigan Supreme Court

   a bypass application and application to appeal the Michigan Court of Appeals July

   1, 2020 Order. This was also denied by the Michigan Supreme Court.

          Davis’ essentially seeks the same type of relief in the Michigan Court of

   Appeals as he seeks with this Court, and that is to overturn Wayne County Circuit

   Court Chief Judge Kenny’s ruling and find that Prosecutor Worthy’s name should

   not have appeared on the August 4, 2020 Primary Election ballot nor the November

   3, 2020 General Election ballot. It should be noted that on August 4, 2020 the voters

   elected Prosecutor Worthy over Democratic challenger Burton-Harris with 62.3%

   of the vote.3 Based on the Complaint, Plaintiff attempts to interfere with the will of

   the people in selecting the candidate of their choosing.




   3
     Wayne County Clerk’s Office, Elections Division, Elections Summary Report, August 4th, 2020
   – Primary Election, Unofficial Results https://www.waynecounty.com/elected/clerk/election-
   results.aspx
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         Prosecutor Worthy seeks to intervene as a matter of right in this action, as a

   party with a direct interest relating to the subject of the action and whose rights

   cannot be adequately represented by the parties in this matter. MCR 2.209 should be

   liberally construed to allow intervention when the applicants interest otherwise may

   be inadequately represented. Precision Pipe & Supply, Inc. v. Meram Construction,

   Inc., 195 Mich. App. 153, 156; 489 N.W.2d 166 (1992). MCR 2.209(A) governs

   intervention of right and provides:

                (A) Intervention of Right. On timely application a person
                has a right to intervene
                in an action:

                (1) when a Michigan statute or court rule confers an
                    unconditional right to intervene;

                (2) by stipulation of all parties; or

                (3) when the applicant claims an interest relating to the
                    property or transaction which is the subject of the
                    action and is so situated that the disposition of the
                    action may as a practical matter impair or impede the
                    applicant’s ability to protect that interest, unless the
                    applicants interest is adequately represented by
                    existing parties.


   Prosecutor Worthy is directly named in Count I and II of Plaintiff’s Complaint. She

   has an unconditional right to intervene in this matter because it directly impacts and

   relates to her candidacy for the Office of Wayne County Prosecutor in the November




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   3, 2020 General Election and her interests are not adequately represented by the

   parties in this matter.

          In addition, Prosecutor Worthy should be permitted to intervene because her

   response will raise questions of law and fact in common with the present lawsuit.

   MCR 2.209 (B) governs permissive intervention and provides:

                  (B) Permissive Intervention. On timely application a
                  person has a right to intervene in an action:
                                              ***
                  (2) when an applicant’s claim or defense and the main
                  action have a question of law or fact in common….

   Plaintiff’s pleadings in this litigation has many of the same claims, defenses, and

   questions of law in common with the aforementioned state court actions. Prosecutor

   Worthy’s Motion is timely and permitting her invention will, in no way, unduly

   delay or prejudice the adjudication of the rights of the original parties because this

   suit is in its initial phase. Lastly, Prosecutor Worthy sought concurrence in the

   Motion to Intervene from all parties in this matter. Defendants do not oppose this

   Motion to Intervene, however Plaintiff did not timely respond to the request for

   concurrence.

          WHEREFORE, for the foregoing reasons, Intervening Defendant Prosecutor

   Worthy requests that this Honorable Court grant the instant Motion to Intervene

   pursuant to MCR 2.209(A) and MCR 2.209(B).




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                                               Respectfully Submitted,

                                                /s/_Angela L. Baldwin
                                               Melvin Butch Hollowell (P37834)
                                               Angela L. Baldwin (P81565)
                                               THE MILLER LAW FIRM, P.C.
                                               Attorneys for Intervenor Defendant
                                               1001 Woodward, Suite 850
                                               Detroit, Michigan 48226
                                               (313) 483-0880


   Dated: August 21, 2020




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                                PROOF OF SERVICE

         I hereby certify that on August 21, 2020, I electronically filed the foregoing

   document using the ECF system which will send notification of such filing to all

   attorneys of record.



                                                /s/ Angela L. Baldwin_____
                                                Melvin Butch Hollowell (P37834)
                                                Angela L. Baldwin (P81565)
                                                THE MILLER LAW FIRM, P.C.
                                                1001 Woodward Ave., Suite 850
                                                Detroit, MI 48226
                                                (313) 483-0880
                                                alb@millerlawpc.com
                                                Attorney for Intervenor-Defendant
                                                Kym Worthy




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

   ROBERT DAVIS, and                              Case No. 20-cv-12127
   SHANE ANDERS,                                  Hon. Nancy G. Edmunds
       Plaintiffs,

   v.

   WAYNE COUNTY BOARD OF CANVASSERS,
        Defendant.
   _________________________________________________________________/
   ANDREW A. PATERSON (P18690)                    JAMES HEATH (P65419)
   Attorney for Plaintiffs                        Wayne County Corporation Counsel
   2893 E. Eisenhower Pkwy                        JANET ANDERSON-DAVIS (P29499)
   Ann Arbor, MI 48108                            Assistant Corporation Counsel
   (248) 568-9712                                 Attorneys for Defendant
   aap43@outlook.com                              500 Griswold, 21st Floor
                                                  Detroit, MI 48226
                                                  (313) 347-5813
                                                  jandersn@waynecounty.com
   _________________________________________________________________/

              AMENDED COMPLAINT AND JURY DEMAND

         NOW COME Plaintiffs, ROBERT DAVIS and SHANE ANDERS,

   by and through their attorney, ANDREW A. PATERSON, and for their

   Amended Complaint and Jury Demand (“Amended Complaint”), state

   as follows:




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                    I.    NATURE OF PLAINTIFFS’ CLAIMS

      1. Plaintiffs’ claims are brought pursuant to 42 U.S.C. § 1983; 28

         U.S.C. §§ 1331, 1337, 1343, and 1367; and, the Declaratory

         Judgment Act, 28 U.S.C. § 2201, et. seq.

                         II. JURISDICTION AND VENUE

      2. This Court has jurisdiction over Plaintiffs’ claims pursuant to 42

         U.S.C. 1983; 28 U.S.C. §§ 1331, 1332, 1337, 1343, and 1367.

      3. This Court also has jurisdiction to render and issue a declaratory

         judgment pursuant to the Declaratory Judgment Act, 28 U.S.C. §

         2201, et. seq.

      4. Venue is proper in the Eastern District of Michigan under 28

         U.S.C. § 1391(b)(1). Under 28 U.S.C. § 1391(b)(1), venue is proper

         in “a judicial district in which any defendant resides, if all

         defendants are residents of the State in which the district is

         located.” Upon information and belief, all of the named

         Defendants are residents of the State of Michigan or have a place

         of business in the State of Michigan, and at least one of the

         Defendants reside in the Eastern District of Michigan. Therefore,




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         venue is proper within the Eastern District of Michigan under 28

         U.S.C. § 1391(b)(1).1

      5. All events giving rise to the causes of action pleaded and alleged

         herein occurred in the Eastern District of Michigan.

                                        III.    PARTIES

      6. Plaintiffs     repeat,    reallege      and     incorporate,    the    foregoing

         allegations, as though fully set forth and stated herein.

      7. Plaintiff, Robert Davis (“Plaintiff Davis”), is a resident and

         registered voter of the City of Highland Park, County of Wayne,

         State of Michigan. Plaintiff Davis voted in the August 4, 2020

         primary election.

      8. Plaintiff, Shane Anders (“Plaintiff Anders”), is a resident and

         registered voter of the City of Dearborn, County of Wayne, State of

         Michigan. Plaintiff Anders voted in the August 4, 2020 Republican



   1 Under 28 U.S.C. § 1391(b)(1) venue is proper in “a judicial district in which any

   defendant resides, if all defendants are residents of the State in which the district is
   located.” Furthermore, under 28 U.S.C. § 1391(c)(2), a corporation is deemed to reside
   “in any judicial district in which such defendant is subject to the court’s personal
   jurisdiction.” The determination of the proper venue for a civil action in federal court
   is “generally governed by 28 U.S.C. 1391.” Atlantic Marine Const. Co. v U.S. District.
   Court for W.Dist. of Texas, 571 U.S. 49, 55 (2013). “[T]he court must determine
   whether the case falls within one of the three categories set out in 1391(b). If it does,
   venue is proper[.]” Id. at 55.


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         primary election and was the sole declared write-in candidate in the

         August 4, 2020 Republican primary election for the office of Wayne

         County Prosecutor.

      9. Defendant, Wayne County Board of Canvassers (“Defendant

         Board of Canvassers”), pursuant to Mich. Comp. Laws §§168.24a,

         168.24c and 168.822, and 168.826, is the four-member board

         selected    by   a   majority     of    the   Wayne    County     Board    of

         Commissioners that is charged with the statutory duties of

         canvassing, certifying, determining and declaring the results of

         elections held in Wayne County. In accordance with MCL 168.821

         and 168.822, the Defendant Board of Canvassers “shall meet at the

         office of the county clerk no later than 9 a.m. on the Thursday after

         any election held in the county” and “shall then proceed without

         delay to canvass the returns of votes cast for all candidates for

         offices voted for and all questions voted on at the election, according

         to the precinct returns filed with the probate judge or presiding

         probate judge by the several city and township clerks[.]”

      10.       An actual controversy exists between the Plaintiffs and the

         named Defendant.


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        GENERAL ALLEGATIONS AND STATEMENT OF FACTS

      11.       Plaintiffs repeat, reallege and incorporate, the foregoing

         allegations, as though fully set forth and stated herein.

        Candidates Filing To Run For The Office of Wayne County
                              Prosecutor
      12.    On November 4, 2019, Victoria Burton-Harris filed an

         affidavit of identity, along with a $100 filing fee, with the Wayne

         County Clerk to qualify as a candidate for the Democratic Party for

         the office of prosecuting attorney for the County of Wayne.

      13.       On March 18, 2020, Kym Worthy filed an affidavit of identity,

         along with a $100 filing fee, with the Wayne County Clerk to qualify

         as a candidate for the Democratic Party for the office of prosecuting

         attorney for the County of Wayne. (See Kym Worthy’s affidavit

         of identity attached as Exhibit A).

      14.       The filing deadline for a candidate to file an affidavit of

         identity and $100 filing fee to qualify to have their name printed on

         the August 4, 2020 primary election ballot as a candidate for the

         office of Wayne County Prosecutor was by 4 p.m. on April 21, 2020.

      15.       Kym Worthy and Victoria Burton-Harris were only two (2)

         candidates who timely filed affidavits of identity and the $100 filing


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         fee to have their names printed on the August 4, 2020 primary

         election ballot as candidates for the Democratic Party’s nomination

         for the office of Wayne County Prosecutor.

      16.       According to the Wayne County Clerk, no person timely filed

         an affidavit of identity and $100 filing fee by the filing deadline date

         to have their name printed on the August 4, 2020 primary election

         as a candidate for the Republican Party’s nomination for the office

         of Wayne County Prosecutor.

      17.       However, on July 23, 2020, pursuant to Mich. Comp. Laws

         §168.737a(1), Plaintiff Anders timely filed with the Wayne County

         Clerk a declaration of intent to run as a write-in candidate as a

         Republican in the August 4, 2020 primary election for the office of

         Wayne County Prosecutor. (See Plaintiff Anders’ Declaration

         of Intent to Be A Write-In Candidate attached as Exhibit B).

      18.       Pursuant to Mich. Comp. Laws §168.737a(1), the statutory

         deadline for a person to file a declaration of intent to be a write-in

         candidate for any office appearing on the August 4, 2020 primary

         election ballot was by 4 p.m. on July 24, 2020.




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      19.       As of Friday, July 31, 2020, Plaintiff Anders was the only

         candidate who timely filed with the Wayne County Clerk a

         declaration of intent to run as a write-in candidate as a Republican

         in the August 4, 2020 primary election for the office of Wayne

         County Prosecutor.

      20.       Pursuant to Mich. Comp. Laws §168.191, Plaintiff Anders’

         satisfied the statutory requirements to be eligible to run for the

         office of Wayne County Prosecutor.

                   Victoria Burton-Harris’ State-Court Case

      21.       On or about June 2, 2020, Victoria Burton-Harris, who was a

         democratic candidate for the office of Wayne County Prosecutor,

         filed a legal challenge with the Wayne County Clerk and Wayne

         County Election Commission, challenging the certification of Kym

         Worthy’s name to appear on the August 4, 2020 primary election

         ballot as a candidate for the office of Wayne County Prosecutor for

         the Democratic Party. (See Victoria Burton-Harris’ Legal

         Challenge attached as Exhibit C).

      22.       On June 5, 2020, the Wayne County Election Commission

         convened to formally approve and certify the names of the


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         candidates whose names would appear on the August 2020 primary

         election ballot.

      23.       However, prior to the June 5, 2020 meeting of the Wayne

         County Election Commission, the Wayne County Clerk issued a

         written determination rejecting Victoria Burton-Harris’ legal

         challenge and further advising that the Wayne County Clerk would

         be certifying Kym Worthy’s name to appear on the August 4, 2020

         primary election ballot as a          candidate for the office of Wayne

         County Prosecutor for the Democratic Party. (See Wayne County

         Clerk’s June 5, 2020 Determination letter attached as

         Exhibit D).

      24.       During the Wayne County Election Commission’s June 5 th

         meeting, they also discussed Victoria Burton-Harris’ legal

         challenge.    After hearing arguments from counsel representing

         Victoria Burton-Harris and Kym Worthy, the Wayne County

         Election Commission voted to approve the Wayne County Clerk’s

         certification of Kym Worthy’s name to appear on the August 2020

         primary election ballot as a candidate for the office of Wayne

         County Prosecutor for the Democratic Party.


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      25.      That same day, on June 5, 2020, Victoria Burton-Harris filed

         a state-court complaint and emergency motion for declaratory

         judgment, writ of mandamus and temporary restraining order in

         the Wayne County Circuit Court.

      26.      Pursuant to the Third Judicial Circuit Court’s Local

         Administrative Order 2017-08, Wayne County Circuit Court Chief

         Judge Tim Kenny (“Chief Judge Kenny”) was automatically

         assigned Victoria Burton-Harris’ election case. (See Local

         Administrative Order 2017-08 attached as Exhibit E).

      27.      Victoria Burton-Harris also filed an ex parte motion for

         temporary restraining order and order to show cause. However,

         Chief Judge Kenny did not grant Victoria Burton-Harris’ ex parte

         motion for temporary restraining order, but instead, entered an

         order to show cause requiring the Wayne County Clerk and

         Wayne County Election Commission to show cause why a writ of

         mandamus and/or preliminary injunction should not issue.

      28.      Chief Judge Kenny set a hearing for Victoria Burton-Harris’

         order to show cause to be heard on June 15, 2020 at Noon.




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      29.       On June 9, 2020, Victoria Burton-Harris filed with the

         Michigan Court of Appeals an emergency Application for Leave to

         Appeal Chief Judge Kenny’s June 8, 2020 order denying Victoria

         Burton Harris’ ex parte motion for temporary restraining order. See

         Michigan Court of Appeals Docket No. 353770.

      30.       That same day, the Michigan Court of Appeals promptly

         entered an order denying Victoria Burton-Harris’ emergency

         Application for Leave to Appeal. See Burton-Harris v Wayne County

         Clerk, unpublished order of the Court of Appeals, entered June 9,

         2020 (Docket No. 353770).2

      31.       On June 11, 2020, while the Victoria Burton-Harris election

         case was pending in the state court, community activist Plaintiff




   2 Notably, Chief Judge Kenny’s June 8, 2020 order to show cause did not explicitly

   state that the state-court denied Victoria Burton Harr’s ex parte motion for temporary
   restraining order. Thus, one could conclude that the Michigan Court of Appeals
   lacked jurisdiction over Victoria Burton-Harris’ emergency application for leave to
   appeal. It is well-settled that the Michigan Court of Appeals has jurisdiction to hear
   appeals from orders, whether they be final orders for purposes of an appeal of right,
   or interlocutory for purposes of an application for leave to appeal. See, generally,
   MCR 7.203(A) & (B); Chen v Wayne State University, 284 Mich App 172, 192-193; 771
   NW2d 820 (2009). Appealable orders, of course, are the written variety, not simply
   oral rulings made by the court from the bench. City of Sterling Heights v Chrysler
   Group LLC, 309 Mich App 676, 682; 873 NW2d 342 (2015). However, Chief Judge
   Kenny never signed and entered a written order denying Victoria Burton-Harris’ ex
   parte motion for temporary restraining order.

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         Davis timely filed an Emergency Motion to Intervene as a plaintiff

         in the case pursuant to MCR 2.209(A)(3) and MCR 2.209(B)(2).

      32.      Chief Judge Kenny set a hearing for Plaintiff Davis’

         emergency motion to intervene to be held on Monday, June 15, 2020

         at Noon, on the same day as Victoria Burton-Harris’ show cause

         hearing.

      33.      On June 15, 2020, Chief Judge Kenny heard arguments in

         Victoria Burton-Harris’ matter and after hearing arguments, Chief

         Judge Kenny denied Plaintiff Davis’ Emergency Motion to

         Intervene on the basis of laches and also denied Victoria Burton-

         Harris’ motions for writ of mandamus and declaratory judgment.

      34.      That same day, Chief Judge Kenny entered a final order

         denying the requested relief and dismissing with prejudice Victoria

         Burton-Harris’ case. (See Chief Judge Kenny’s June 15, 2020

         Order in Burton-Harris case attached as Exhibit F).

      35.      Victoria Burton-Harris chose not to appeal Chief Judge

         Kenny’s erroneous decision.

      36.      However, on June 29, 2020, Plaintiff Davis timely filed a claim

         of appeal with the Michigan Court of Appeals appealing Chief


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         Judge Kenny’s June 15, 2020 Order denying Plaintiff Davis’ motion

         to intervene. See Michigan Court of Appeals Docket No. 353999.

      37.      The next day, on June 30, 2020, Plaintiff Davis filed a motion

         to expedite the appeal along with a motion for immediate

         consideration. On July 1, 2020, the Michigan Court of Appeals

         issued an order granting Plaintiff Davis’ motion for immediate

         consideration, but denying Plaintiff Davis’ motion to expedite the

         appeal. See Vitoria Burton-Harris v Wayne County Clerk,

         unpublished order of the Court of Appeals, entered July 1, 2020

         (Docket No. 353999).

      38.      Undeterred, on July 6, 2020, Plaintiff Davis filed with the

         Michigan Supreme Court an emergency bypass application and

         application for leave to appeal the July 1, 2020 order of the

         Michigan Court of Appeals.

      39.      On July 15, 2020, the Justices of the Michigan Supreme Court

         entered an order granting immediate consideration, but denying

         Plaintiff Davis’ emergency bypass application and application for

         leave to appeal because the Michigan Supreme Court was “not

         persuaded that the remaining questions presented should be


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         reviewed by this Court before consideration by the Court of

         Appeals.” (See Michigan Supreme Court’s July 15, 2020 Order

         attached as Exhibit G).

      40.       Thus, Plaintiff Davis’ appeal of Chief Judge Kenny’s decision

         denying Plaintiff Davis’ motion to intervene in the Burton-Harris’

         election case remains pending in the Michigan Court of Appeals.

         See Michigan Court of Appeals Docket No. 353999.


                              CAUSES OF ACTION

                               COUNT I
    Plaintiff Davis’ Right To Vote Was Violated With The Dilution
   Of Plaintiff Davis’ Legitimate Vote By Defendant County Board
   of Canvassers Counting Improper Votes Cast For Kym Worthy.

      41.      Plaintiffs repeat, reallege and incorporate, the foregoing

         allegations, as though fully set forth and stated herein.

      42.      This claim is brought by Plaintiff Davis against Defendant

         Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

         and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

      43.      This claim, which is brought by Plaintiff Davis against the

         Defendant Wayne County Board of Canvassers, seeks prospective

         declaratory and injunctive relief.


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      44.       On August 4, 2020, Plaintiff Davis voted in the democratic

          primary election and voted for Victoria Burton-Harris for Wayne

          County Prosecutor.

      45.       On Wednesday, August 5, 2020 at 3 p.m., Defendant Wayne

          County Board of Canvassers convened to begin their statutory

          duty of tallying, counting and certifying the election results from

          the August 4, 2020 primary election.

      46.       Prior to their August 5, 2020 meeting, counsel for Plaintiffs

          sent members of the Defendant Wayne County Board of

          Canvassers and their legal counsel, Janet Anderson-Davis, an

          email requesting that the Defendant Wayne County Board of

          Canvassers not to count, tally or certify any votes cast for Kym

          Worthy.

      47.       At the Defendant Wayne County Board of Canvassers’

          August 5, 2020 meeting, Plaintiffs’ counsel spoke during citizens’

          participation and again, requested the members of the Defendant

          Wayne County Board of Canvassers not to count, tally or certify

          any votes cast for Kym Worthy.




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      48.       After Plaintiffs’ counsel spoke during the Defendant Wayne

          County Board of Canvassers’ August 5, 2020 meeting, counsel for

          the Defendant Wayne County Board of Canvassers advised

          Plaintiffs’ counsel on the record that any and all votes cast for

          Kym Worthy would be counted, tallied and certified by the

          Defendant Wayne County Board of Canvassers absent an order for

          a court ordering the Defendant Wayne County Board of

          Canvassers not to count said votes cast for Kym Worthy.

      49.       Pursuant to Mich.Comp.Laws §§ 168.822, 168.824, 168.825,

          and 168.826, Defendant Wayne County Board of Canvassers has

          the statutory duty to count, tally, and certify the election results

          from the August 4, 2020 primary election.

      50.       Pursuant to Mich.Comp.Laws §§ 168.197 and 168.687, the

          Defendant Wayne County Board of Canvassers has the statutory

          duty to certify to the Wayne County Election Commission the

          names of each candidate who received the highest number of votes

          for each political party for the office of Wayne County Prosecutor.

      51.       Mich.Comp.Laws §168.550 provides:

                       No candidate shall have his name printed upon
                       any official primary election ballot of any

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                       political party in any voting precinct in this state
                       unless he shall have filed nominating petitions
                       according to the provisions of this act, and all other
                       requirements of this act have been complied with
                       in his behalf, except in those counties qualifying
                       candidates upon the payment of fees. (Emphasis
                       supplied).

      52.       However, Michigan Election Law allows candidates to

          qualify for the office of prosecuting attorney by filing a $100 filing

          fee in lieu of the nominating petitions. Mich.Comp.Laws

          §168.193(2) provides, in relevant part:

                       (2) To obtain the printing of the name of a candidate of
                       a political party under the particular party's heading
                       upon the primary election ballots in the various voting
                       precincts of the county, there may be filed by the
                       candidate, in lieu of filing nomination petitions, a filing
                       fee of $100.00 to be paid to the county clerk. Payment
                       of the fee and certification of the candidate's
                       name paying the fee shall be governed by the
                       same provisions as in the case of nominating
                       petitions. (Emphasis supplied).

      53.       Mich.Comp.Laws §168.560 provides:

                       Ballots other than those furnished by the board
                       of election commissioners, according to the
                       provisions of this act, shall not be used, cast, or
                       counted in any election precinct at any election.
                       The size of all official ballots shall be as the board of



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                       election commissioners prescribes. (Emphasis
                       supplied).

      54.       As noted, on March 18, 2020, Kym Worthy executed and

          filed her affidavit of identity, along with the $100 filing, with the

          Wayne County Clerk and Gil Flowers. (Exhibit A).

      55.       Kym Worthy did not file two (2) copies of the affidavit of

          identity when she filed the original affidavit of identity with the

          Wayne County Clerk and Gil Flowers on March 18, 2020.

      56.       On June 1, 2020, Plaintiff Davis sent an email

          communication to Gil Flowers seeking confirmation as to whether

          Kym Worthy and Brenda Jones had filed a postelection statement

          required under Mich. Comp. Laws §168.848 (See Plaintiff Davis’

          June 1, 2020 Email to Gil Flowers attached as Exhibit J).

      57.       On June 3, 2020, Gil Flowers responded and advised Activist

          Davis that, as of June 3, 2020, neither Kym Worthy nor Brenda

          Jones had filed with the Wayne County Clerk the postelection

          statement required under Mich. Comp. Laws §168.848. (See Gil

          Flowers’ June 3, 2020 Response attached as Exhibit J).

      58.       Despite having this information, members of the Defendant

          County Election Commission convened and voted to certify and

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          approve Kym Worthy’s name to appear on the August 4, 2020

          primary election ballot.

      59.       Mich. Comp. Laws §168.550 of Michigan Election Law,

          states:

                No candidate shall have his name printed upon any
                official primary election ballot of any political party in
                any voting precinct in this state unless he shall have filed
                nominating petitions according to the provisions of
                this act, and all other requirements of this act have
                been complied with in his behalf, except in those counties
                qualifying candidates upon the payment of fees. (emphasis
                supplied).

      60.       Mich. Comp. Laws §168.558(1) of Michigan Election Law,

          states in relevant part:

                (1) When filing a nominating petition, qualifying petition,
                filing fee, or affidavit of candidacy for a federal, county,
                state, city, township, village, metropolitan district, or school
                district office in any election, a candidate shall file with
                the officer with whom the petitions, fee, or affidavit is filed
                2 copies of an affidavit of identity. (emphasis supplied).


      61.       Mich. Comp. Laws §168.558(4) of Michigan Election Law,

          further provides in pertinent part:

                (4) An affidavit of identity must include a statement that as
                of the date of the affidavit, all statements, reports, late filing
                fees, and fines required of the candidate or any candidate

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                committee organized to support the candidate's election
                under the Michigan campaign finance act, 1976 PA 388,
                MCL 169.201 to 169.282, have been filed or paid; and a
                statement that the candidate acknowledges that making a
                false statement in the affidavit is perjury, punishable by a
                fine up to $1,000.00 or imprisonment for up to 5 years, or
                both. If a candidate files the affidavit of identity with an
                officer other than the county clerk or secretary of state, the
                officer shall immediately forward to the county clerk 1 copy
                of the affidavit of identity by first-class mail. The county
                clerk shall immediately forward 1 copy of the affidavit of
                identity for state and federal candidates to the secretary of
                state by first-class mail. An officer shall not certify to the
                board of election commissioners the name of a
                candidate who fails to comply with this section, or the
                name of a candidate who executes an affidavit of
                identity that contains a false statement with regard to
                any information or statement required under this
                section. (emphasis supplied).

      62.       The ballot for the democratic primary for the office of Wayne

          County Prosecutor was not printed in accordance with Michigan

          Election Law because it included the name of Kym Worthy, whose

          name should not have been printed thereon.

      63.       Kym Worthy’s name should not have been printed on the

          August 4, 2020 primary election ballot as a candidate for Wayne

          County Prosecutor because (1) Kym Worthy failed to file 2 copies

          of her affidavit of identity as required under Mich.Comp.Laws

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          §168.558(1); and (2) Kym Worthy submitted an affidavit of

          identity that contained a false statement in violation of

          Mich.Comp.Laws §168.558(4).

      64.       Thus, pursuant to Mich.Comp.Laws §168.560, the votes cast

          for Kym Worthy cannot be counted by the Defendant Wayne

          County Board of Canvassers.

      65.       The counting, tallying and certification of the votes cast for

          Kym Worthy by the Defendant Wayne County Board of

          Canvassers will dilute the lawful vote cast by Plaintiff Davis for

          Victoria Burton-Harris.

      66.       The dilution of Plaintiff Davis’ vote violates Plaintiff Davis’

          fundamental right to vote and to have his vote counted.

      67.        The lawful vote cast by Plaintiff Davis for Victoria Burton-

          Harris will be nullified and cancelled out by the Defendant Wayne

          County Board of Canvassers’ actions of counting and certifying the

          improper votes cast for Kym Worthy.

      68.       Chief Judge Kenny’s decision in the Victoria Burton-Harris

          state-court case amounted to an officially-sponsored election




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          procedure, which in its basic respects was flawed to the level of

          fundamental unfairness.

      69.       Plaintiff Davis has a fundamental right to have his vote

          counted, which can only be achieved by the Defendant Wayne

          County Board of Canvassers not being permitted to count, tally or

          certify any votes cast for Kym Worthy.

          WHEREFORE, Plaintiff Davis requests this Court to enter

   judgment against Defendant Wayne County Board of Canvassers as

   follows:

              a. compensatory damages in whatever amount above $75,000.00
                 Plaintiff Davis is found to be entitled;
              b. an award of exemplary and punitive damages;
              c. an award of interest, costs and reasonable attorney fees under
                 42 USC §1988;
              d. a declaration that Plaintiff Davis’ fundamental right to vote
                 and to have his vote counted has been violated by the
                 Defendant Wayne County Board of Canvassers by counting
                 and/or certifying votes cast for Kym Worthy;
              e. a declaration that Plaintiff Davis’ vote has been diluted with
                 votes cast for Kym Worthy in the August 4, 2020 primary
                 election being counted and certified by the Defendant Wayne
                 County Board of Canvassers;
              f. a declaration that Defendant Wayne County Board of
                 Canvassers cannot count and/or certify any votes cast for Kym
                 Worthy in the August 4, 2020 primary election;
              g. a declaration that the ballots printed with Kym Worthy’s
                 name on them were not printed in accordance with Michigan
                 Election Law and thus, pursuant to Mich.Comp.Laws


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                §168.560, said ballots cannot be counted by the Defendant
                Wayne County Board of Canvassers;
             h. a declaration that Kym Worthy submitted an affidavit of
                identity containing a false statement in violation of
                Mich.Comp.Laws §168.558;
             i. a declaration that Kym Worthy failed to file 2 copies of her
                affidavit of identity in violation of Mich.Comp.Laws §168.558;
             j. an injunction enjoining the Defendant Wayne County Board
                of Canvassers from counting, tallying, and/or certifying any
                votes cast for Kym Worthy in the August 4, 2020 primary
                election; and
             k. an order awarding whatever other equitable relief appears
                appropriate at the time of final judgment.


                              COUNT II
     Plaintiff Davis’ Substantive Due Process Rights Have Been
    Violated With The Dilution Of Plaintiff Davis’ Legitimate Vote
    By Defendant County Board of Canvassers Counting Improper
                      Votes Cast For Kym Worthy.

      70.       Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.

      71.       This claim is brought by Plaintiff Davis against Defendant

          Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

          and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

      72.       This claim, which is brought by Plaintiff Davis against the

          Defendant Wayne County Board of Canvassers, seeks prospective

          declaratory and injunctive relief.




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      73.       On August 4, 2020, Plaintiff Davis voted in the democratic

          primary election and voted for Victoria Burton-Harris for Wayne

          County Prosecutor.

      74.       On Wednesday, August 5, 2020 at 3 p.m., Defendant Wayne

          County Board of Canvassers convened to begin their statutory

          duty of tallying, counting and certifying the election results from

          the August 4, 2020 primary election.

      75.       Prior to their August 5, 2020 meeting, counsel for Plaintiffs

          sent members of the Defendant Wayne County Board of

          Canvassers and their legal counsel, Janet Anderson-Davis, an

          email requesting that the Defendant Wayne County Board of

          Canvassers not to count, tally or certify any votes cast for Kym

          Worthy.

      76.       At the Defendant Wayne County Board of Canvassers’

          August 5, 2020 meeting, Plaintiffs’ counsel spoke during citizens’

          participation and again, requested the members of the Defendant

          Wayne County Board of Canvassers not to count, tally or certify

          any votes cast for Kym Worthy.




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      77.       After Plaintiffs’ counsel spoke during the Defendant Wayne

          County Board of Canvassers’ August 5, 2020 meeting, counsel for

          the Defendant Wayne County Board of Canvassers advised

          Plaintiffs’ counsel on the record that any and all votes cast for

          Kym Worthy would be counted, tallied and certified by the

          Defendant Wayne County Board of Canvassers absent an order for

          a court ordering the Defendant Wayne County Board of

          Canvassers not to count said votes cast for Kym Worthy.

      78.       Pursuant to Mich.Comp.Laws §§ 168.822, 168.824, 168.825,

          and 168.826, Defendant Wayne County Board of Canvassers has

          the statutory duty to count, tally, and certify the election results

          from the August 4, 2020 primary election.

      79.       Pursuant to Mich.Comp.Laws §§ 168.197 and 168.687, the

          Defendant Wayne County Board of Canvassers has the statutory

          duty to certify to the Wayne County Election Commission the

          names of each candidate who received the highest number of votes

          for each political party for the office of Wayne County Prosecutor.

      80.       The counting, tallying and certification of the votes cast for

          Kym Worthy by the Defendant Wayne County Board of


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          Canvassers will dilute the lawful vote cast by Plaintiff Davis for

          Victoria Burton-Harris.

      81.       The dilution of Plaintiff Davis’ lawful vote violates Plaintiff

          Davis’ fundamental right to vote and to have his vote counted.

      82.        The lawful vote cast by Plaintiff Davis for Victoria Burton-

          Harris will be nullified and cancelled out by the Defendant Wayne

          County Board of Canvassers’ actions of counting and certifying the

          improper votes cast for Kym Worthy.

      83.       Chief Judge Kenny’s decision in the Victoria Burton-Harris

          state-court case amounted to an officially-sponsored election

          procedure, which in its basic respects was flawed to the level of

          fundamental unfairness.

      84.       Plaintiff Davis has a fundamental right to have his vote

          counted, which can only be achieved by the Defendant Wayne

          County Board of Canvassers not being permitted to count, tally or

          certify any votes cast for Kym Worthy.

          WHEREFORE, Plaintiff Davis requests this Court enters

   judgment against Defendant Wayne County Board of Canvassers as

   follows:


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                a. compensatory damages in whatever amount above
                   $75,000.00 Plaintiff Davis is found to be entitled;
                b. an award of exemplary and punitive damages;
                c. an award of interest, costs and reasonable attorney fees
                   under 42 USC §1988;
                d. a declaration that Plaintiff Davis’ substantive due process
                   rights have been violated by the Defendant Wayne County
                   Board of Canvassers;
                e. a declaration that Plaintiff Davis’ fundamental right to
                   vote and to have his vote counted has been violated by
                   Defendant Wayne County Board of Canvassers with the
                   counting and/or certification of votes cast for Kym Worthy;
                f. a declaration that Plaintiff Davis’ vote has been diluted
                   with the counting and certification of votes cast for Kym
                   Worthy in the August 4, 2020 primary election by the
                   Defendant Wayne County Board of Canvassers;
                g. a declaration that Defendant Wayne County Board of
                   Canvassers cannot count and/or certify any votes cast for
                   Kym Worthy in the August 4, 2020 primary election;
                h. a declaration that the ballots printed with Kym Worthy’s
                   name on them were not printed in accordance with
                   Michigan Election Law and thus, pursuant to
                   Mich.Comp.Laws §168.560, said ballots cannot be counted
                   by the Defendant Wayne County Board of Canvassers;
                i. a declaration that Kym Worthy submitted an affidavit of
                   identity containing a false statement in violation of
                   Mich.Comp.Laws §168.558;
                j. a declaration that Kym Worthy failed to file 2 copies of her
                   affidavit of identity in violation of Mich.Comp.Laws
                   §168.558;
                k. an injunction enjoining the Defendant Wayne County
                   Board of Canvassers from counting, tallying, and/or
                   certifying any votes cast for Kym Worthy in the August 4,
                   2020 primary election; and
                l. an order awarding whatever other equitable relief appears
                   appropriate at the time of final judgment.



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                              COUNT III
     Equal Protection “Class-of-One” Claim- Plaintiff Davis Was
   Denied Equal Protection Under The Law By Defendant Board of
       Canvassers Under The Class-of-One Theory By Treating
      Plaintiff Davis Differently At Defendant’s August 18, 2020
                               Meeting.

      85.       Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.

      86.       This claim is brought by Plaintiff Davis against Defendant

          Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

          and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

      87.       This claim, which is brought by Plaintiff Davis against the

          Defendant Wayne County Board of Canvassers, seeks prospective

          declaratory and injunctive relief.

      88.       On August 18, 2020, the Defendant Board of Canvassers

          convened to certify the election results from the August 4, 2020

          primary election.

      89.       Due to the COVID-19 pandemic, the Defendant Board of

          Canvassers’ August 18, 2020 public meeting was conducted via

          Zoom.

      90.       Plaintiff Davis participated in the Defendant Board of

          Canvassers’ August 18, 2020 public meeting via Zoom.

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      91.       During the Defendant Board of Canvassers’ August 18, 2020

          public meeting, staff from the Wayne County Clerk’s office

          reported that there were numerous errors discovered with the

          City of Detroit’s tally of votes cast in the August 4, 2020 primary

          election.

      92.       To their credit, during the meeting, the Defendant Board of

          Canvassers allowed members of the public to ask questions of its

          members and staff that were present at the August 18, 2020

          meeting.

      93.       During the citizen’s participation portion of the August 18,

          2020 meeting, Defendant Board of Canvassers allowed members

          of the public to ask lengthy questions of its members and staff and

          the Defendant Board of Canvassers permitted and directed its

          staff to answer questions posed by members of the public.

      94.       During citizen’s participation, Plaintiff Davis asked

          members of the Defendant Board of Canvassers and staff whether

          Plaintiff Anders received any write-in votes in the Republican

          primary for the office of Wayne County Prosecutor.




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      95.       Jennifer Redmond, the deputy director of Elections for

          Wayne County, advised Plaintiff Davis that the Defendant Board

          of Canvassers tallied 9 votes for Plaintiff Anders.

      96.       Plaintiff Davis then asked Jennifer Redmond whether

          Plaintiff Anders would be certified by the Defendant Board of

          Canvassers as the Republican nominee to appear on the

          November 3, 2020 general election ballot.

      97.       Jennifer Redmond further advised Plaintiff Davis that

          Plaintiff Anders would not be certified by the Defendant Board of

          Canvassers as the Republican nominee because MCL 168.582 of

          Michigan Election Law required Plaintiff Anders to receive a

          minimum of 10 votes.

      98.       Plaintiff Davis then proceeded to ask members of the

          Defendant Board of Canvassers whether a public notice was

          posted informing the public the days, times, and location that the

          Defendant Board of Canvassers and its staff were conducting the

          canvass of the votes cast in the August 4, 2020 primary election.

      99.       The Chairwoman and Jennifer Redmond could not answer

          the question directly, but instead indicated members of the public


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          could have attended and observed the canvass and tallying of

          votes cast.

      100.      Plaintiff Davis then proceeded to ask members of the

          Defendant Board of Canvassers whether they had approved a

          resolution naming and authorizing a specific person to post notices

          of their meetings.

      101.       Counsel for the Defendant Board of Canvassers interjected

          and advised the members of the Defendant Board of Canvassers

          and staff not to answer Plaintiff Davis’ question.

      102.      Plaintiff Davis then proceeded to ask members of the

          Defendant Board of Canvassers who posted the notice for the

          August 18, 2020 public meeting.

      103.      Again, counsel for the Defendant Board of Canvassers

          interjected and advised the members of the Defendant Board of

          Canvassers and staff not to answer Plaintiff Davis’ question.

      104.      The Defendant Board of Canvassers’ refusal to answer

          Plaintiff Davis’ questions and its refusal to allow its staff to

          answer Plaintiff Davis’ questions denied Plaintiff Davis equal

          protection under the law under the “class-of-one” theory.


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      105.      During the August 18, 2020 meeting, the Defendant Board of

          Canvassers treated Plaintiff Davis differently than they treated

          other members of the public.

      106.      During the August 18, 2020 meeting, the Defendant Board of

          Canvassers willingly answered questions posed by members of the

          public and also allowed its staff to answer questions posed by

          members of the public, but when it came to the questions posed by

          Plaintiff Davis, the Defendant Board of Canvassers prohibited its

          staff to answer the questions Plaintiff Davis asked.

      107.      This unequal treatment of Plaintiff Davis is due to the

          personal animus and ill will members of the Defendant Board of

          Canvassers and its legal counsel have towards Plaintiff Davis.

      108.      The Defendant Board of Canvassers and its members have

          personal animus and ill will towards Plaintiff Davis because

          Plaintiff Davis have publicly belittled the members of the

          Defendant Board of Canvassers, its staff and legal counsel.

      109.      The Defendant Board of Canvassers and its members have

          personal animus and ill will towards Plaintiff Davis because

          Plaintiff Davis has sued the Defendant Board of Canvassers.


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      110.      The Defendant Board of Canvassers and its members have

          personal animus and ill will towards Plaintiff Davis because

          Plaintiff Davis has made critical statements to the press about the

          Defendant Board of Canvassers and its members.

      111.      In fact, some members of the Defendant Board of Canvassers

          have publicly criticized Plaintiff Davis and have stated publicly

          that they disliked Plaintiff Davis.

      112.      In fact, some members of the Defendant Board of Canvassers

          have publicly stated Plaintiff Davis was a “nuisance” and

          “troublemaker”.

      113.      One member of the Defendant Board of Canvassers told

          Plaintiff Davis personally that members of Defendant Board of

          Canvassers and its legal counsel “hated” and “despised” Plaintiff

          Davis and was going to do anything to disrupt any matters

          Plaintiff Davis would bring before the Defendant Board of

          Canvassers.

      114.      A Wayne County employee/official confidentially told

          Plaintiff Davis that the Defendant Board of Canvassers advised

          its staff not to provide Plaintiff Davis with information and that


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          some members of the Defendant Board of Canvassers expressed

          their disdain and dislike of Plaintiff Davis.

      115.      There was no plausible reason for counsel for the Defendant

          Board of Canvassers to direct the members of the Defendant

          Board of Canvassers and its staff not to answer the questions

          posed and asked by Plaintiff Davis during the August 18, 2020

          public meeting.

      116.      This unequal treatment of Plaintiff Davis was a result of the

          animus and ill will Defendant Board of Canvassers have against

          Plaintiff Davis.

          WHEREFORE, Plaintiff Davis requests this Court enters

   judgment against Defendant Wayne County Board of Canvassers as

   follows:

                a. compensatory damages in whatever amount above
                   $75,000.00 Plaintiff Davis is found to be entitled;
                b. an award of exemplary and punitive damages;
                c. an award of interest, costs and reasonable attorney fees
                   under 42 USC §1988;
                d. a declaration that Plaintiff Davis was denied equal
                   protection under law by the Defendant Wayne County
                   Board of Canvassers under the “class-of-one” theory by
                   treating Plaintiff Davis differently from the other citizens
                   who asked questions at the August 18, 2020 meeting; and
                e. an order awarding whatever other equitable relief appears
                   appropriate at the time of final judgment.

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                             COUNT IV
       Mich. Comp. Laws §168.582, On Its Face and As Applied By
        Defendant Board of Canvassers To Plaintiff Anders, Is
                     Unconstitutionally Vague.

      117.      Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.

      118.      This claim is brought by Plaintiff Anders against Defendant

          Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

          and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

      119.      This claim, which is brought by Plaintiff Anders against the

          Defendant Wayne County Board of Canvassers, seeks prospective

          declaratory and injunctive relief.

      120.      Plaintiff Anders believes that Mich. Comp. Laws §168.582,

          on its face and as applied to him, is unconstitutionally vague.

      121.      On August 4, 2020, Plaintiff Anders voted in the Republican

          primary election and voted for himself, by writing his name in for

          the office of Wayne County Prosecutor.

      122.      Plaintiff Anders, his wife and son voted by absentee ballot in

          the August 4, 2020 primary election.

      123.      Plaintiff Anders’ wife and son voted for Plaintiff Anders in

          the August 4, 2020 Republican primary election for the office of

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          Wayne County Prosecutor by properly writing in his name and

          filing in the adjacent oval.

      124.      However, when the Defendant Board of Canvassers

          published the tally of votes cast for Plaintiff Anders in the August

          4, 2020 primary election, the Defendant Board of Canvassers

          tallied and certified Plaintiff Anders as having received only 1

          vote in the City of Dearborn.

      125.      Realizing this was an obvious error, mistake, or fraud, on

          August 21, 2020, Plaintiff Anders timely filed a sworn petition

          along with a $100 deposit with the Wayne County Clerk

          requesting a recount of certain election day and absentee voting

          precincts, including Plaintiff Anders’ very own voting precinct.

      126.      On Wednesday, September 2, 2020, the Defendant Board of

          Canvassers convened a public meeting, via Zoom, to consider

          Plaintiff Anders’ recount petition.

      127.      Plaintiff Davis participated in the Defendant Board of

          Canvassers’ September 2, 2020 meeting as an individual citizen,

          and as a representative and challenger on behalf of Plaintiff

          Anders.


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      128.      During the Defendant Board of Canvassers’ September 2,

          2020 meeting, the democratic members of the Defendant Board of

          Canvassers and the Director of Elections of Wayne County, whose

          father is a downriver democratic elected official, attempted to

          block Plaintiff Anders’ request for a recount.

      129.      Citing Mich. Comp. Laws §168.582, the democratic members

          of the Defendant Board of Canvassers and the Director of

          Elections for Wayne County, stated Plaintiff Anders did not meet

          the minimum threshold and need some 3,000 plus votes.

      130.      On behalf of Plaintiff Anders, Plaintiff Davis quickly

          interjected and advised the Defendant Board of Canvassers that

          their reading and interpretation of the vague and ambiguous

          statute, being Mich. Comp. Laws §168.582, was erroneous and

          that Plaintiff Anders had a statutory right to a recount of the

          precincts he requested to be recounted in his sworn petition.

      131.      Surprisingly, counsel for Defendant Board of Canvassers

          also advised the Defendant Board of Canvassers that Plaintiff

          Anders had a statutory right to a recount.




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      132.      Ignoring the advice of counsel, the democratic members of

          the Defendant Board of Canvassers proceeded with a motion to

          deny Plaintiff Anders’ petition and request for a recount.

      133.      Thankfully, the democratic members’ motion failed on a 2-to-

          2 vote.

      134.      After that vote failed, the Defendant Board of Canvassers

          the advanced a motion to approve and authorize Plaintiff Anders’

          request and petition for a recount.

      135.      The motion to approve and authorize Plaintiff Anders’

          request and petition for a recount was unanimously approved with

          a 4-to-0 vote.

      136.      Within 30 minutes after the Defendant Board of Canvassers’

          September 2, 2020 concluded, Plaintiff Davis received a call on his

          cell phone from a democratic member of the Defendant Board of

          Canvassers who informed Plaintiff Davis that the Director of

          Elections was going to again request and ask the Defendant Board

          of Canvassers not to certify Plaintiff Anders as the Republican

          nominee if the recount resulted in Plaintiff Anders receiving a net

          gain of an additional vote.


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      137.      The language of Mich. Comp. Laws §168.582 is vague and

          ambiguous.

      138.      The language of Mich. Comp. Laws §168.582 is not precise

          and inevitably will lead to the Defendant Board of Canvassers

          enforcing Mich. Comp. Laws §168.582 in an arbitrary and/or

          discriminatory way against Plaintiff Anders.

      139.      The actions of the Defendant Board of Canvassers and its

          staff at its August 18th and September 2nd, 2020 meetings

          illustrate the ambiguity and vagueness in the law.

      140.      Counsel for the Defendant Board of Canvassers has one

          interpretation and understanding of the provisions of Mich. Comp.

          Laws 1§68.582, but the Director of Elections for Wayne County

          and certain democratic members of the Defendant Board of

          Canvassers have a different interpretation and understanding of

          the provisions of Mich. Comp. Laws §168.582.

      141.      The vastly different interpretations and understandings of

          the provisions of Mich. Comp. Laws §168.582 members of the

          Defendant Board of Canvassers, its staff, and legal counsel

          maintain, have resulted in the Defendant Board of Canvassers


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          enforcing Mich. Comp. Laws §168.582 in an arbitrary and/or

          discriminatory way against Plaintiff Anders.

      142.      Plaintiff Anders is unsure and equally unclear as to what

          standard or threshold, if any, he must meet under Mich. Comp.

          Laws §168.582 in order to qualify and/or be certified as the

          nominee of the Republican party for the November 3, 2020 general

          election for the office of Wayne County Prosecutor.

      143.      Plaintiff Anders does not understand the vague and

          ambiguous language of Mich. Comp. Laws §168.582.

      144.      Mich. Comp. Laws §168.582 is unconstitutionally void and

          thus, as applied to Plaintiff Anders, is void for vagueness.

          WHEREFORE, Plaintiff Anders requests this Court enters

   judgment against Defendant Wayne County Board of Canvassers as

   follows:

                   a. compensatory damages in whatever amount above
                      $75,000.00 Plaintiff Anders is found to be entitled;
                   b. an award of exemplary and punitive damages;
                   c. an award of interest, costs and reasonable attorney fees
                      under 42 USC §1988;
                   d. a declaration that Mich. Comp. Laws §168.582, as
                      applied to Plaintiff Anders, is unconstitutionally vague,
                      and thus, is void for vagueness;



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                   e. a declaration that Mich. Comp. Laws 168.582, on its
                      face, is unconstitutionally vague, and thus, is void for
                      vagueness;
                   f. an injunction enjoining the Defendant Wayne County
                      Board of Canvassers from enforcing Mich. Comp. Laws
                      §168.582 against Plaintiff Anders; and
                   g. an order awarding whatever other equitable relief
                      appears appropriate at the time of final judgment.


                                COUNT V
     Mich. Comp. Laws §§168.871(1) and (3), On Their Face and As
    Applied By Defendant Board of Canvassers To Plaintiff Anders,
     Violates Plaintiff Anders’ Fundamental Right To Vote and To
                           Have It Counted.

      145.      Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.

      146.      This claim is brought by Plaintiff Anders against Defendant

          Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

          and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

      147.      This claim, which is brought by Plaintiff Anders against the

          Defendant Wayne County Board of Canvassers, seeks prospective

          declaratory and injunctive relief.

      148.      On August 4, 2020, Plaintiff Anders voted in the Republican

          primary election and voted for himself, by writing his name in for

          the office of Wayne County Prosecutor.


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      149.      Plaintiff Anders, his wife and son voted by absentee ballot in

          the August 4, 2020 primary election.

      150.      Plaintiff Anders’ wife and son voted for Plaintiff Anders in

          the August 4, 2020 Republican primary election for the office of

          Wayne County Prosecutor by properly writing in his name and

          filing in the adjacent oval.

      151.      However, when the Defendant Board of Canvassers

          published the tally of votes cast for Plaintiff Anders in the August

          4, 2020 primary election, the Defendant Board of Canvassers

          tallied and certified Plaintiff Anders as having received only 1

          vote in the City of Dearborn.

      152.      Realizing this was an obvious error, mistake, or fraud, on

          August 21, 2020, Plaintiff Anders timely filed a sworn petition

          along with a $100 deposit with the Wayne County Clerk

          requesting a recount of certain election day and absentee voting

          precincts, including Plaintiff Anders’ very own voting precinct.

      153.      On Wednesday, September 2, 2020, the Defendant Board of

          Canvassers convened a public meeting, via Zoom, to consider

          Plaintiff Anders’ recount petition.


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      154.       At its September 2, 2020 meeting, the Defendant Board of

          Canvassers approved and authorized Plaintiff Anders’ sworn

          petition for a recount of certain election day and absentee voting

          precincts, which included Plaintiff Anders’ very own voting

          precinct in Dearborn.

      155.       The recount of the voting precincts Plaintiff Anders

          requested to be recounted will be recounted by the Defendant

          Board of Canvassers on Friday, September 4, 2020 beginning at 1

          p.m.

      156.       Plaintiff Davis will be physically present at the September 4,

          2020 recount to serve as an official challenger for Plaintiff Anders.

      157.       On information and belief, the Defendant Board of

          Canvassers will apply the provisions of Mich. Comp. Laws

          §§168.871(1) and (3) to prevent the recount of the election day and

          absentee voting precincts Plaintiff Anders requested to be

          recounted.

      158.       Under Mich. Comp. Laws §168.871(1) prevents the

          Defendant Board of Canvassers from recounting the votes cast in

          a particular precinct if: (1) the seal on the transfer case or ballot


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          container is determined by the Defendant Board of Canvassers to

          be broken; (2) the number of ballots to be recounted and the

          number of ballots issued on election day do not match; and (3) the

          seal used to seal the ballot label assembly to a voting device in the

          precinct is broken or bears a different number than that recorded

          in poll records.

      159.      Under Mich. Comp. Laws §168.871(3), “if a board of

          canvassers conducting a recount pursuant to this chapter

          determines that the ballots of a precinct are not eligible for

          recount under this section, the original return of the votes for that

          precinct shall be taken as correct.”

      160.      If Plaintiff Anders’ voting precinct is unable to be recounted

          for any of the reasons listed under Mich. Comp. Laws §§168.871(1)

          and (3), Plaintiff Anders’ vote will not be counted.

      161.      Mich. Comp. Laws §§168.871(1) and (3) violate Plaintiff

          Anders’ fundamental right to vote and to have it counted.

      162.      The enforcement of Mich. Comp. Laws §§168.871(1) and (3)

          by the Defendant Board of Canvassers against Plaintiff Anders




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          will result in the dilution of the vote Plaintiff Anders’ cast for

          himself.

          WHEREFORE, Plaintiff Anders requests this Court enters

   judgment against Defendant Wayne County Board of Canvassers as

   follows:

                     a. compensatory damages in whatever amount above
                        $75,000.00 Plaintiff Anders is found to be entitled;
                     b. an award of exemplary and punitive damages;
                     c. an award of interest, costs and reasonable attorney fees
                        under 42 USC §1988;
                     d. a declaration that Mich. Comp. Laws §§168.871(1) and
                        (3), as applied to Plaintiff Anders, are unconstitutional
                        for they violate Plaintiff Anders’ fundamental right to
                        vote and to have it counted;
                     e. a declaration that Mich. Comp. Laws §§168.871(1) and
                        (3), on their face, are unconstitutional for they violate
                        Plaintiff Anders’ fundamental right to vote and to have
                        it counted;
                     f. a declaration that the enforcement of Mich. Comp. Laws
                        168.871(1) and (3) by the Defendant Wayne County
                        Board of Canvassers against Plaintiff Anders would
                        result in the unconstitutional dilution of Plaintiff
                        Anders’ vote for himself;
                     g. an injunction enjoining the Defendant Wayne County
                        Board of Canvassers from enforcing Mich. Comp. Laws
                        §§168.871(1) and (3) against Plaintiff Anders; and
                     h. an order awarding whatever other equitable relief
                        appears appropriate at the time of final judgment.




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                             COUNT VI
    Mich. Comp. Laws §§168.871(1) and (3) Violates Plaintiff Anders’
    Fourteenth Amendment Right To Equal Protection Under Law.

      163.      Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.

      164.      This claim is brought by Plaintiff Anders against Defendant

          Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

          and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

      165.      This claim, which is brought by Plaintiff Anders against the

          Defendant Wayne County Board of Canvassers, seeks prospective

          declaratory and injunctive relief.

      166.      On August 4, 2020, Plaintiff Anders voted in the Republican

          primary election and voted for himself, by writing his name in for

          the office of Wayne County Prosecutor.

      167.      Plaintiff Anders, his wife and son voted by absentee ballot in

          the August 4, 2020 primary election.

      168.      Plaintiff Anders’ wife and son voted for Plaintiff Anders in

          the August 4, 2020 Republican primary election for the office of

          Wayne County Prosecutor by properly writing in his name and

          filing in the adjacent oval.


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      169.      However, when the Defendant Board of Canvassers

          published the tally of votes cast for Plaintiff Anders in the August

          4, 2020 primary election, the Defendant Board of Canvassers

          tallied and certified Plaintiff Anders as having received only 1

          vote in the City of Dearborn.

      170.      Realizing this was an obvious error, mistake, or fraud, on

          August 21, 2020, Plaintiff Anders timely filed a sworn petition

          along with a $100 deposit with the Wayne County Clerk

          requesting a recount of certain election day and absentee voting

          precincts, including Plaintiff Anders’ very own voting precinct.

      171.      On Wednesday, September 2, 2020, the Defendant Board of

          Canvassers convened a public meeting, via Zoom, to consider

          Plaintiff Anders’ recount petition.

      172.      At its September 2, 2020 meeting, the Defendant Board of

          Canvassers approved and authorized Plaintiff Anders’ sworn

          petition for a recount of certain election day and absentee voting

          precincts, which included Plaintiff Anders’ very own voting

          precinct in Dearborn.




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      173.       The recount of the voting precincts Plaintiff Anders

          requested to be recounted will be recounted by the Defendant

          Board of Canvassers on Friday, September 4, 2020 beginning at 1

          p.m.

      174.       Plaintiff Davis will be physically present at the September 4,

          2020 recount to serve as an official challenger for Plaintiff Anders

          during the recount.

      175.       On information and belief, the Defendant Board of

          Canvassers will apply the provisions of Mich. Comp. Laws

          §§168.871(1) and (3) to prevent the recount of the election day and

          absentee voting precincts Plaintiff Anders requested to be

          recounted.

      176.       Mich. Comp. Laws §§168.871(1) and (3) unconstitutionally

          prevents the accurate counting of votes cast for Plaintiff Anders.

      177.       The enforcement of Mich. Comp. Laws §§168.871(1) and (3)

          by the Defendant Board of Canvassers against Plaintiff Anders

          will result in the arbitrary and disparate treatment of votes cast

          for Plaintiff Anders.




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      178.      Mich. Comp. Laws §§168.871(1) and (3) on its face, and as

          applied to Plaintiff Anders, prevents lawful votes cast for Plaintiff

          Anders not to be properly counted and tallied due to human error.

      179.      The application of Mich. Comp. Laws §§168.871(1) and (3) to

          the precincts Plaintiff Anders has requested to be recounted will

          result in the dilution of Plaintiff Anders vote and will also result

          in the arbitrary and disparate treatment of votes cast for Plaintiff

          Anders in certain precincts as compared to others.

          WHEREFORE, Plaintiff Anders requests this Court enters

   judgment against Defendant Wayne County Board of Canvassers as

   follows:

                   a. compensatory damages in whatever amount above
                      $75,000.00 Plaintiff Anders is found to be entitled;
                   b. an award of exemplary and punitive damages;
                   c. an award of interest, costs and reasonable attorney fees
                      under 42 USC §1988;
                   d. a declaration that Mich. Comp. Laws §§168.871(1) and
                      (3), as applied to Plaintiff Anders, are unconstitutional
                      for they violate Plaintiff Anders’ Fourteenth
                      Amendment Right to equal protection under the law;
                   e. a declaration that Mich. Comp. Laws §§168.871(1) and
                      (3), on their face, are unconstitutional for they violate
                      Plaintiff Anders’ Fourteenth Amendment right to equal
                      protection under the law;
                   f. an injunction enjoining the Defendant Wayne County
                      Board of Canvassers from enforcing Mich. Comp. Laws
                      §§168.871(1) and (3) against Plaintiff Anders; and

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                   g. an order awarding whatever other equitable relief
                      appears appropriate at the time of final judgment.


                            COUNT VII
    Mich. Comp. Laws §§168.871(1) and (3) Violates Plaintiff Anders’
       Due Process Rights Under The Fourteenth Amendment.

      180.      Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.

      181.      This claim is brought by Plaintiff Anders against Defendant

          Wayne County Board of Canvassers pursuant to 42 U.S.C. § 1983

          and the Declaratory Judgment Act, 28 U.S.C. § 2201, et. seq.

      182.      This claim, which is brought by Plaintiff Anders against the

          Defendant Wayne County Board of Canvassers, seeks prospective

          declaratory and injunctive relief.

      183.      On August 4, 2020, Plaintiff Anders voted in the Republican

          primary election and voted for himself, by writing his name in for

          the office of Wayne County Prosecutor.

      184.      Plaintiff Anders, his wife and son voted by absentee ballot in

          the August 4, 2020 primary election.

      185.      Plaintiff Anders’ wife and son voted for Plaintiff Anders in

          the August 4, 2020 Republican primary election for the office of


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          Wayne County Prosecutor by properly writing in his name and

          filing in the adjacent oval.

      186.      However, when the Defendant Board of Canvassers

          published the tally of votes cast for Plaintiff Anders in the August

          4, 2020 primary election, the Defendant Board of Canvassers

          tallied and certified Plaintiff Anders as having received only 1

          vote in the City of Dearborn.

      187.      Realizing this was an obvious error, mistake, or fraud, on

          August 21, 2020, Plaintiff Anders timely filed a sworn petition

          along with a $100 deposit with the Wayne County Clerk

          requesting a recount of certain election day and absentee voting

          precincts, including Plaintiff Anders’ very own voting precinct.

      188.      On Wednesday, September 2, 2020, the Defendant Board of

          Canvassers convened a public meeting, via Zoom, to consider

          Plaintiff Anders’ recount petition.

      189.      At its September 2, 2020 meeting, the Defendant Board of

          Canvassers approved and authorized Plaintiff Anders’ sworn

          petition for a recount of certain election day and absentee voting




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          precincts, which included Plaintiff Anders’ very own voting

          precinct in Dearborn.

      190.       The recount of the voting precincts Plaintiff Anders

          requested to be recounted will be recounted by the Defendant

          Board of Canvassers on Friday, September 4, 2020 beginning at 1

          p.m.

      191.       On information and belief, the Defendant Board of

          Canvassers will apply the provisions of Mich. Comp. Laws

          §§168.871(1) and (3) to prevent the recount of the election day and

          absentee voting precincts Plaintiff Anders requested to be

          recounted.

      192.       Mich. Comp. Laws §§168.871(1) and (3) unconstitutionally

          prevents the accurate counting of votes cast for Plaintiff Anders.

      193.       The enforcement of Mich. Comp. Laws §§168.871(1) and (3)

          by the Defendant Board of Canvassers against Plaintiff Anders

          will result in the arbitrary and disparate treatment of votes cast

          for Plaintiff Anders.




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      194.      Mich. Comp. Laws §§168.871(1) and (3) on its face, and as

          applied to Plaintiff Anders, prevents lawful votes cast for Plaintiff

          Anders not to be properly counted and tallied due to human error.

      195.      The application of Mich. Comp. Laws §§168.871(1) and (3) to

          the precincts Plaintiff Anders has requested to be recounted will

          result in the dilution of Plaintiff Anders vote and will also result

          in the arbitrary and disparate treatment of votes cast for Plaintiff

          Anders in certain precincts as compared to others.

      196.      Under Michigan Election Law and the Michigan

          Constitution of 1963, as amended, Plaintiff Anders has a statutory

          and state constitutional rights to a recount of votes lawfully cast

          for him in the August 4, 2020 Republican primary election.

      197.      Mich. Comp. Laws §§168.871(1) and (3) strips Plaintiff

          Anders of his statutory and state constitutional rights to a recount

          of votes lawfully cast for him in the August 4, 2020 Republican

          primary election.

      198.      Mich. Comp. Laws §§168.871(1) and (3) violate Plaintiff

          Anders’ procedural due process rights afforded under the

          Fourteenth Amendment.


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      199.      Michigan Comp. Laws §§168.871(1) and (3) violate Plaintiff

          Anders’ substantive due process rights afforded under the

          Fourteenth Amendment.

          WHEREFORE, Plaintiff Anders requests this Court enters

   judgment against Defendant Wayne County Board of Canvassers as

   follows:

                   a. compensatory damages in whatever amount above
                      $75,000.00 Plaintiff Anders is found to be entitled;
                   b. an award of exemplary and punitive damages;
                   c. an award of interest, costs and reasonable attorney fees
                      under 42 USC §1988;
                   d. a declaration that Mich. Comp. Laws §§168.871(1) and
                      (3), as applied to Plaintiff Anders, are unconstitutional
                      for they violate Plaintiff Anders’ Procedural and
                      Substantive Due Process Rights;
                   e. a declaration that Mich. Comp. Laws §§168.871(1) and
                      (3), on their face, are unconstitutional for they violate
                      Plaintiff Anders’ Procedural and Substantive Due
                      Process Rights;
                   f. an injunction enjoining the Defendant Wayne County
                      Board of Canvassers from enforcing Mich. Comp. Laws
                      §§168.871(1) and (3) against Plaintiff Anders; and
                   g. an order awarding whatever other equitable relief
                      appears appropriate at the time of final judgment.




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                           COUNT VIII
    Procedural Due Process Claim- Plaintiffs Anders’ and Davis’
     Procedural Due Process Rights Were Violated By Defendant
     Board of Canvassers When Defendant Board of Canvassers
    Failed To Provide Plaintiffs With Copies of Approved and/or
   Proposed Minutes From Its Meetings Within The Time Required
                  Under The Open Meetings Act.

      200.      Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.

      201.      This claim is brought by Plaintiffs Davis Anders against

          Defendant Wayne County Board of Canvassers pursuant to 42

          U.S.C. § 1983 and the Declaratory Judgment Act, 28 U.S.C. §

          2201, et. seq.

      202.      On August 19, 2020, Plaintiffs’ counsel sent a written

          request, via email, to the Defendant Board of Canvassers

          requesting under Michigan’s Open Meetings Act (OMA) copies of

          approved and/or proposed minutes from its August 13, 2020

          meeting, and copies of approved and/or proposed minutes from all

          of the meetings the Defendant held during the 14 days in which

          the Defendant and members of its staff conducted the canvass of

          the votes cast in the August 4, 2020 primary election.




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      203.      Plaintiffs’ counsel’s August 19, 2020 request under

          Michigan’s Open Meetings Act (OMA) also advised Defendant

          Board of Canvassers that their website, which was maintained by

          the Wayne County Clerk, did not have the approved and/or

          proposed minutes from its meetings available on its website.

      204.      As of the date of this filing, Plaintiffs’ counsel has not

          received a response to his OMA request and the approved and/or

          proposed minutes from the Defendant Board of Canvassers’

          August 13, 2020 special meeting, as well as the proposed minutes

          from the meetings held during the 14-day canvass, were not

          posted on the Defendant Board of Canvassers website.

      205.      Pursuant to Mich. Comp. Laws §§15.269(2) and (3),

          Plaintiffs Davis and Anders have a statutory right to publicly

          inspect and receive copies of approved and/or proposed minutes

          from all meetings held by the Defendant.

      206.      Pursuant to Mich. Comp. Laws §15.269(3), the Defendant

          has a statutory duty to make proposed minutes from a meeting

          available for public inspection within 8 business days after the

          date of the meeting and a statutory duty to make approved


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          minutes available for public inspection within 5 business days

          after the meeting at which the minutes were approved.

      207.      As of the date of this filing, Plaintiffs Anders’ and Davis’

          request made through counsel under the OMA has not been

          fulfilled and/or honored by the Defendant.

      208.      As of the date of this filing, the approved and/or proposed

          minutes from the Defendant’s August 5th, 13th, and 18th, 2020

          meetings are not posted on the Defendant’s public website.

      209.      As of the date of this filing, the approved and/or proposed

          minutes from the meetings held by the Defendant during the 14-

          day canvass of the votes cast in the August 4, 2020 primary

          election have not been prepared and/or made available for public

          inspection.

      210.      Plaintiffs Davis’ and Anders’ also have a statutory right

          under the OMA to receive notice of Defendant’s regular and/or

          special meetings.

      211.      Mich. Comp. Laws §15.265 of the OMA requires the

          Defendant to post notices of all of its regular and/or special

          meetings.


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      212.       Defendant failed to properly post notices of its meetings held

          during the 14-day canvass of the votes cast in the August 4, 2020

          primary election in accordance with Mich. Comp. Laws §15.265 of

          the OMA.

      213.       Defendant’s failure to comply with posting and notice

          requirements of Mich. Comp. Laws §15.265 of the OMA has

          violated Plaintiffs Davis’ and Anders’ procedural due process

          rights.

      214.       Defendant’s failure to comply with Mich. Comp. Laws

          §15.269 has violated Plaintiffs Davis’ and Anders’ procedural due

          process rights.


          WHEREFORE, Plaintiffs Davis and Anders request this Court

   enters judgment against Defendant Wayne County Board of Canvassers

   as follows:

                    a. compensatory damages in whatever amount above
                       $75,000.00 Plaintiffs are found to be entitled;
                    b. an award of exemplary and punitive damages;
                    c. an award of interest, costs and reasonable attorney fees
                       under 42 USC §1988;
                    d. a declaration that Defendant Wayne County Board of
                       Canvassers violated Plaintiffs Davis’ and Anders’
                       procedural due process rights by violating the posting


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                      and notice requirements set forth under Mich. Comp.
                      Laws §15.265 of the OMA;
                   e. a declaration that Defendant Wayne County Board of
                      Canvassers violated Plaintiffs Davis’ and Anders’
                      procedural due process rights by violating the
                      publishing of approved and/or proposed minutes from
                      Defendant’s meetings as required under Mich. Comp.
                      Laws 15.269 of the OMA;
                   f. a declaration that Defendant Wayne County Board of
                      Canvassers violated Plaintiffs Davis’ and Anders’
                      procedural; due process rights by failing to provide
                      Plaintiffs with copies of approved and/or proposed
                      minutes from its meetings held on August 13th, 2020 and
                      from all of the meetings it held during the 14-day
                      canvass of the votes cast in the August 4, 2020 primary
                      election;
                   g. a declaration that Mich. Comp. Laws §§168.871(1) and
                      (3), on their face, are unconstitutional for they violate
                      Plaintiff Anders’ Procedural and Substantive Due
                      Process Rights;
                   h. an injunction enjoining the Defendant Wayne County
                      Board of Canvassers from enforcing Mich. Comp. Laws
                      §§168.871(1) and (3) against Plaintiff Anders; and
                   i. an order awarding whatever other equitable relief
                      appears appropriate at the time of final judgment.


                              COUNT IX
       State-Law Claim- Declaratory Judgment Under MCR 2.605
         Declaring Mich. Comp. Laws §168.871(2) Requires The
       Defendant Wayne County Board of Canvassers To Recount
       Absentee Votes Cast In Absentee Voting Precincts Plaintiff
         Anders Identified In His Sworn Petition For Recount.

      215.      Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.


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      216.      This state-law claim is brought by Plaintiffs Anders and

          Davis against Defendant Wayne County Board of Canvassers

          pursuant to MCR 2.605.

      217.      On September 2, 2020, Defendant Board of Canvassers

          issued to Plaintiffs’ counsel its instructions and adopted policies

          that would govern the recount of certain precincts requested to be

          recounted by Plaintiff Anders in his sworn petition requesting a

          recount.

      218.      One of the rules outlined in Defendant Board of Canvassers’

          manual is a rule stating the Defendant Board of Canvassers would

          not recount a precinct that does not comply with the requirements

          set forth under Mich. Comp. Laws §168.871(1).

      219.      However, upon reading the chapter of Michigan Election

          Law governing recounts, Plaintiffs Anders and Davis are of the

          belief and opinion that the provisions of Mich. Comp. Laws

          §168.871(1) do NOT apply to votes cast by absentee ballots.

      220.      Specifically, Plaintiffs Davis and Anders of the belief and

          opinion that Mich. Comp. Laws §168.871(2) governs the recount of




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          votes cast by absentee ballot in a precinct using an absent

          counting board.

      221.       An actual controversy exists between Plaintiffs and the

          Defendant with respect to the proper procedure to recount votes

          cast by absentee ballots.

      222.       Per the rules established, adopted, and enforced by the

          Defendant Board of Canvassers completely ignores the

          requirement to recount votes cast by absentee ballots as set forth

          under Mich. Comp. Laws §168.871(2).

      223.       Regardless of whether any of the irregularities outlined in

          Mich. Comp. Laws §168.871(1), Plaintiffs Davis and Anders are of

          the opinion and belief that the Defendant Board of Canvassers has

          a statutory legal duty to recount votes cast by absentee ballots

          pursuant to Mich. Comp. Laws §168.871(2).

          WHEREFORE, Plaintiffs Anders and Davis request this Court to

   enter judgment against Defendant Wayne County Board of Canvassers

   as follows:

                   a. an award of interest, costs and reasonable attorney fees;
                   b. a declaration pursuant to MCR 2.605 that the
                      Defendant Wayne County Board of Canvassers must
                      recount votes cast by absentee ballots pursuant to Mich.

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                      Comp. Laws §168.871(2) irrespective of any defects or
                      errors that may be present that would otherwise prevent
                      a precinct from being recounted under Mich. Comp.
                      Laws §168.871(1);
                   c. a declaration pursuant to MCR 2.605 that all of the
                      absentee voting precincts identified in Plaintiff Anders’
                      sworn petition for recount must be recounted by the
                      Defendant Wayne County Board of Canvassers
                      pursuant to Mich. Comp. Laws §168.871(2) irrespective
                      of any defects or errors that may be present that would
                      otherwise prevent a precinct from being recounted
                      under Mich. Comp. Laws §168.871(1); and
                   d. an order awarding whatever other equitable relief
                      appears appropriate at the time of final judgment.


                              COUNT X
     State-Law Claim- Defendant Board of Canvassers Violated
    Michigan’s Open Meetings Act By Failing To Provide Plaintiffs
       With Copies of Approved and/or Draft Minutes From Its
    Meetings, Having An Unauthorized Person Post Notices of Its
       Meetings, Failing To Properly Post Notices of Its Special
                  Meetings; Deliberating In Private.

      224.      Plaintiffs repeat, reallege and incorporate, the foregoing

          allegations, as though fully set forth and stated herein.

      225.      This state-law claim is brought by Plaintiffs Anders and

          Davis against Defendant Wayne County Board of Canvassers

          pursuant to Michigan’s Open Meetings Act (“OMA”).

      226.      On August 19, 2020, Plaintiffs’ counsel sent a written

          request via email to the Defendant Board of Canvassers


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          requesting copies of approved and/or proposed minutes from its

          August 13, 2020 meeting, and copies of approved and/or proposed

          minutes from all of the meetings the Defendant held during the 14

          days in which the Defendant and members of its staff conducted

          the canvass of the votes cast in the August 4, 2020 primary

          election.

      227.      Plaintiffs’ counsel’s August 19, 2020 request under the OMA

          also advised Defendant Board of Canvassers that their website,

          which was maintained by the Wayne County Clerk, did not have

          the approved and/or proposed minutes from its meetings available

          on its website.

      228.      As of the date of this filing, Plaintiffs’ counsel has not

          received a response to his OMA request and the approved and/or

          proposed minutes from the Defendant Board of Canvassers

          August 13, 2020 special meeting, as well as the proposed minutes

          from the meetings held during the 14-day canvass, were not

          posted on the Defendant Board of Canvassers website.

      229.      A review of the Defendant Board of Canvassers’ public

          website shows that no notices were ever posted by the Defendant


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          Board of Canvassers informing the public, including the Plaintiffs,

          of the dates, times, and locations where the Defendant Board of

          Canvassers and its staff were convening and meeting to canvass

          the votes cast in the August 4, 2020 primary election.

      230.      Plaintiffs Davis and Anders desired to attend, but were

          unaware of the dates, times, and locations where the Defendant

          Board of Canvassers and its staff were convening and meeting to

          canvass the votes cast in the August 4, 2020 primary election.

      231.      As a result of the Defendant Board of Canvassers failing to

          provide adequate notice to the public of its special meetings held

          during the 14-day canvass of votes cast in the August 4, 2020

          primary election, Plaintiffs Davis and Anders were unable to

          attend to witness first-hand the process Defendant Board of

          Canvassers used to tally votes cast for Plaintiff Anders.

      232.      As a result of the Defendant Board of Canvassers failing to

          provide adequate notice to the public of its special meetings held

          during he 14-day canvass of votes cast in the August 4, 2020

          primary election, Plaintiff Davis and Anders were unable to speak

          at each of the meetings held during the 14-day canvass, which


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          would have enabled Plaintiffs to properly advise Defendant prior

          to the Defendant certifying the election results.

      233.      At its August 18, 2020 meeting, the Defendant Board of

          Canvassers did not thoroughly discuss the full contents of its staff

          report that detailed the results of the 14-day canvass.

      234.      The Defendant Board of Canvassers simply rubber-stamped

          its staff report, which was developed in private and secret, and

          certified the election results from the August 4, 2020 primary

          election.

      235.      On information and belief, all of the Defendant Board of

          Canvassers’ meetings have been posted by a person unauthorized

          to post the notices of said meetings.

      236.      On information and belief, the Defendant Board of

          Canvassers have not approved and/or passed a resolution

          specifically identifying a person(s) authorized to post notices of its

          regular and/or special meetings.

      237.      On information and belief, the Defendant Board of

          Canvassers have not adopted a yearly meeting calendar.




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      238.      Plaintiffs Davis and Anders check the Defendant Board of

          Canvassers’ public website regularly and as of the date of this

          filing, the approved and/or proposed minutes from its meetings

          held on August 5th, 13th, and 18th, 2020 are not posted or available

          for public inspection.

      239.      Defendant continuously violates the provisions of the OMA.

      240.      At its meeting held on September 2, 2020, Defendant

          approved the minutes from its August 13th and 18th, 2020.

      241.      This Court now has jurisdiction to invalidate any and all

          actions taken at the Defendant’s August 13th and 18th, 2020

          meeting.

      242.      Plaintiffs believe and request that all of the actions taken by

          the Defendant at its August 13th and August 18th, 2020 meetings

          should be invalidated in accordance with the OMA because said

          meetings were not properly noticed and/or posted in accordance

          with the OMA.

      243.      Defendant’s failure to properly notice and/or post the notices

          of its August 13th and August 18th, 2020 meetings impaired




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          Plaintiffs’ and the public’s right to be properly informed and

          provided notices of Defendant’s meetings.

      244.      Moreover, the Defendant failed to properly notice and post

          notices of its meetings held during the 14-day canvass of the votes

          cast in the August 4, 2020 primary election.

      245.      Failure to provide the proper notice of the meetings held

          during the 14-day canvass prevented Plaintiffs and other

          members of the public from attending and publicly observing the

          canvass.

      246.      The report that was used by the Defendant to certify the

          election results for the August 4, 2020 primary election were

          prepared during those meetings held by the Defendant during the

          14-day canvass.

      247.      The report was adopted by the Defendant at its August 18th,

          2020 without Plaintiffs or other members of the public being

          provided with a copy of the report.

      248.      Prior to voting to certify the election results from the August

          primary election, Defendant did not provide full details of the

          report with the Plaintiffs or other members of the public.


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      249.       The Defendant’s vote to certify the election results from the

          August 4, 2020 primary election was a fiat acccompli.

      250.       The Defendant’s meetings held on August 13th and 18th, 2020

          were not properly posted and/or held in accordance with the OMA.

      251.       Defendant’s continuous violations of the OMA illustrates the

          need for the Court to enjoin the Defendant from violating the

          provisions of the OMA and to compel their compliance with the

          OMA.

          WHEREFORE, Plaintiffs Anders and Davis request this Court to

   enter judgment against Defendant Wayne County Board of Canvassers

   as follows:

                   a. a declaration that Defendant Wayne County Board of
                      Canvassers violated the OMA by failing to provide
                      Plaintiffs with copies of the approved and/or proposed
                      minutes from its August 13, 2020 meeting;
                   b. a declaration that Defendant Wayne County Board of
                      Canvassers violated the OMA by failing to make
                      approved and/or proposed minutes from its August 13,
                      2020 meeting available for public inspection on its
                      website within the timeframe set forth under the OMA;
                   c. a declaration that Defendant Wayne County Board of
                      Canvassers violated the OMA by failing to post notices
                      of its meetings held during the 14-day canvass of the
                      votes cast in the August 4, 2020 primary election;
                   d. a declaration that Defendant Wayne County Board of
                      Canvassers violated the OMA by failing to adopt a
                      resolution specifically identifying a person (s) that is

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                      authorized to post notices of its regular and/or special
                      meetings;
                   e. a declaration that Defendant Wayne County Board of
                      Canvassers violated the OMA by allowing an
                      unauthorized person to post notices of its meetings;
                   f. a declaration that Defendant Wayne County Board of
                      Canvassers’ meetings held on August 5th, 13th, and 18th,
                      2020 should not have been held because the notices of
                      said meetings were posted by an unauthorized person in
                      violation of the OMA;
                   g. a declaration that Defendant Wayne County Board of
                      Canvassers violated the OMA by failing to have its
                      approved and/or proposed minutes from its meetings
                      available on its public website;
                   h. an injunction enjoining the Defendant Wayne County
                      Board of Canvassers from violating the provisions of the
                      OMA and injunctive relief to compel Defendant’s
                      compliance with the provisions of the OMA;
                   i. a declaration that all actions taken at Defendant Wayne
                      County Board of Canvassers’ August 13th, and 18th, 2020
                      meetings are invalidated pursuant to Mich. Comp. Laws
                      §15.270(2).
                   j. award Plaintiffs court costs and attorney’s fees pursuant
                      to Mich. Comp. Laws §15.271(4) of the OMA; and
                   k. an order awarding whatever other equitable relief
                      appears appropriate at the time of final judgment.


   Dated: September 4, 2020                Respectfully submitted,

                                           /s/ ANDREW A. PATERSON
                                          ANDREW A. PATERSON (P18690)
                                          Attorney for Plaintiffs
                                          2893 E. Eisenhower Pkwy
                                          Ann Arbor, MI 48108
                                          (248) 568-9712
                                           aap43@outlook.com


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                                JURY DEMAND
          Plaintiffs, through counsel, respectfully demand a jury trial on all

   issues triable to a jury.

    Dated: September 4, 2020               Respectfully submitted,
                                          /s/ ANDREW A. PATERSON
                                          ANDREW A. PATERSON (P18690)
                                          Attorney for Plaintiffs
                                          2893 E. Eisenhower Pkwy
                                          Ann Arbor, MI 48108
                                          (248) 568-9712
                                           aap43@outlook.com



                           CERTIFICATE OF SERVICE

          I, ANDREW A. PATERSON, certify that the foregoing document(s)
   was filed and served via the Court's electronic case filing and noticing
   system (ECF) this 4th day of September, 2020, which will automatically
   send notification of such filing to all attorneys and parties of record
   registered electronically.
                                          Respectfully submitted,

                                           /s/ ANDREW A. PATERSON
                                          ANDREW A. PATERSON (P18690)
                                          Attorney for Plaintiffs
                                          2893 E. Eisenhower Pkwy
                                          Ann Arbor, MI 48108
                                          (248) 568-9712
                                          aap43@outlook.com



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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

   ROBERT DAVIS, and                              Case No. 20-cv-12127
   SHANE ANDERS,                                  Hon. Nancy G. Edmunds
       Plaintiffs,

   v.

   WAYNE COUNTY BOARD OF CANVASSERS,
        Defendant.
   _________________________________________________________________/
   ANDREW A. PATERSON (P18690)                    JAMES HEATH (P65419)
   Attorney for Plaintiffs                        Wayne County Corporation Counsel
   2893 E. Eisenhower Pkwy                        JANET ANDERSON-DAVIS (P29499)
   Ann Arbor, MI 48108                            Assistant Corporation Counsel
   (248) 568-9712                                 Attorneys for Defendant
   aap43@outlook.com                              500 Griswold, 21st Floor
                                                  Detroit, MI 48226
                                                  (313) 347-5813
                                                  jandersn@waynecounty.com
   _________________________________________________________________/

      PLAINTIFFS’ RESPONSE IN OPPOSITION TO PROPOSED
    INTERVENOR KYM WORTHY’S MOTION TO INTERVENE (ECF
                          NO. 15).

          NOW COME Plaintiffs, ROBERT DAVIS and SHANE ANDERS,

   by and through their attorney, ANDREW A. PATERSON, and for their

   Response In Opposition to Proposed Intervenor Kym Worthy’s Motion to

   Intervene (ECF No. 15), states as follows:

          For starters, Proposed Intervenor Kym Worthy’s motion to

   intervene (ECF No. 15) is deficient on its face because it relies upon

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   Michigan law, particularly, the Michigan Court Rules (“MCR”), as it

   legal basis for intervention. Intervention in federal cases is governed by

   the Federal Rules of Civil Procedure and not the Michigan Court Rules.

          Rule 24(a) of the Federal Rules of Civil Procedure entitles certain

   parties to intervene in a lawsuit as of right:

          Upon timely application anyone shall be permitted to intervene in
          an action ... when the applicant claims an interest relating to the
          property or transaction which is the subject of the action and the
          applicant is so situated that the disposition of the action may as a
          practical matter impair or impede the applicant's ability to protect
          that interest, unless the applicant's interest is adequately
          represented by existing parties.
   Fed.R.Civ.P. 24(a). The Sixth Circuit has “explained that a proposed

   intervenor must establish four factors before being entitled to intervene:

   (1) the motion to intervene is timely; (2) the proposed intervenor has a

   substantial legal interest in the subject matter of the case; (3) the

   proposed intervenor's ability to protect their interest may be impaired

   in the absence of intervention; and (4) the parties already before the

   court cannot adequately protect the proposed intervenor's interest.”

   Coalition to Defend Affirmative Action v. Granholm, 501 F.3d 775, 779

   (6th Cir. 2007) (citing Grutter v. Bollinger, 188 F.3d 394, 397-98 (6th

   Cir. 1999)). It is the proposed intervenor's burden to “prove each of the

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   four factors; failure to meet one of the criteria will require that the

   motion to intervene be denied.” Grubbs v. Norris, 870 F.2d 343, 345 (6th

   Cir. 1989). The proposed intervenor clearly has not met her burden

   here.

           Among other things, the proposed intervenor must prove that she

   has “a substantial interest in the subject matter of this litigation.”

   Coalition to Defend Affirmative Action, 501 F.3d at 780. Determining

   whether or not a proposed intervenor has established such an interest is

   a very “fact-specific” inquiry and not just “any articulated interest will

   do.” Id. However, this Court's analysis of the proposed intervenor’s

   interest in the subject matter of this litigation is somewhat constrained

   by her failure to comply with the rule governing motions to intervene.

   Pursuant to Fed.R.Civ.P. 24, a motion to intervene must "be

   accompanied by a pleading that sets out the claim or defense for which

   intervention is sought.” Fed.R.Civ.P. 24(c). The pending motion to

   intervene (ECF No. 15) was not accompanied by any such pleading.

   Due to the significant procedural defect and the proposed intervenor’s

   failure to cite the proper federal law and federal rules of civil procedure,

   the Court should not consider the proposed intervenor’s motion to


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   intervene (ECF No. 15) and should assess sanctions against the

   proposed intervenor and her counsel for filing such a blatantly frivolous

   motion.

          The Motion to Intervene does not specify whether it seeks

   intervention as of right or permissive intervention under the federal

   rules of civil procedure. Rather, it repeatedly erroneously cites the

   Michigan Court Rules for a state-court action. (ECF No. 15). This is not

   a state-court action. To the extent that it seeks permissive

   intervention, that request should also be denied. Rule 24(b) provides

   that, “[o]n timely motion, the court may permit anyone to intervene who

   . . . has a claim or defense that shares with the main action a common

   question of law or fact.” Fed.R.Civ.P. 24(b)(1)(B). A district court has

   broad discretion over requests for permissive intervention. Blount-Hill

   v. Zelman, 636 F.3d 278, 287 (6th Cir. 2011).

          However, here, the proposed intervenor failed to comply with Rule

   24(c)’s requirement that the motion be “accompanied by a pleading that

   sets out the claim or defense for which intervention is sought” (see

   Fed.R.Civ.P. 24(c)), and the proposed intervenor’s motion (ECF No. 15)

   fails to identify any claim or defense she has that shares a common


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   question of fact or law with the main action. Moreover, as stated above,

   the proposed intervenor has failed to establish that she has a

   substantial legal interest in this lawsuit. Finally, Plaintiffs believe that

   allowing the proposed intervenor to intervene in this action would

   inhibit, not promote, the prompt and timely resolution of this matter.

   Plaintiffs will be filing a separate motion for this Court to assess

   sanctions against the proposed intervenor and her counsel for filing this

   blatantly frivolous motion to intervene under the Court’s inherent

   authority to assess sanctions.

                                    CONCLUSION

          WHEREFORE, for the foregoing reasons, Plaintiffs pray that this

   Honorable Court should DENY Proposed Intervenor Kym Worthy’s

   motion to intervene (ECF No. 15) and assess sanctions against the

   proposed intervenor and her counsel for filing such a frivolous motion.

   Dated: September 11, 2020               Respectfully submitted,

                                           /s/ ANDREW A. PATERSON
                                          ANDREW A. PATERSON (P18690)
                                          Attorney for Plaintiffs
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                                           aap43@outlook.com


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                           CERTIFICATE OF SERVICE

          I hereby certify that on September 11, 2020, the foregoing

   document(s) was electronically filed with the Clerk of the Court using

   the ECF system, which will send notification of such filing to all parties

   and counsel of record.

   Dated: September 11, 2020               Respectfully submitted,

                                           /s/ ANDREW A. PATERSON
                                          ANDREW A. PATERSON (P18690)
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                                          (248) 568-9712
                                           aap43@outlook.com




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

   ROBERT DAVIS, and                              Case No. 20-cv-12127
   SHANE ANDERS,                                  Hon. Nancy G. Edmunds
       Plaintiffs,

   v.

   WAYNE COUNTY BOARD OF CANVASSERS,
        Defendant.
   _________________________________________________________________/
   ANDREW A. PATERSON (P18690)                    JAMES HEATH (P65419)
   Attorney for Plaintiffs                        Wayne County Corporation Counsel
   2893 E. Eisenhower Pkwy                        JANET ANDERSON-DAVIS (P29499)
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                                                  Detroit, MI 48226
                                                  (313) 347-5813
                                                  jandersn@waynecounty.com
   _________________________________________________________________/

            PLAINTIFFS’ SECOND EMERGENCY MOTION FOR
        EXTENSION OF TIME TO FILE RESPONSE TO PROPOSED
        INTERVENING DEFENDANT KYM WORTHY’S MOTION TO
          INTERVENE (ECF NO. 15) PURSUANT TO FED.R.CIV.P
                             6(b)(1)(B).

          NOW COMES PLAINTIFFS, ROBERT DAVIS and SHANE

   ANDERS (collectively “Plaintiffs”), by and through their attorney,

   ANDREW A. PATERSON, and for their Second Emergency Motion for

   Extension of Time to File Response to Proposed-Intervening Defendant



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   Kym Worthy’s motion to intervene (ECF No. 15) Pursuant to

   Fed.R.Civ.P. 6(b)(1)(B), states the following:

                                   I.    Introduction

          Prior to filing the instant motion, pursuant to Local Court Rule

   7.1(a), counsel for Plaintiffs sought concurrence from counsel for

   Defendant Wayne County Board of Canvassers and counsel for Proposed-

   Intervening Defendant Kym Worthy, but concurrence was not timely

   received and/or was expressly denied, thus necessitating the filing of this

   motion.

          On August 21, 2020, Proposed Intervening Defendant Kym

   Worthy filed a motion to intervene in the above-entitled matter

   incorrectly citing the Michigan Court Rules (MCR) as the legal basis for

   her intervention. (ECF No. 15). On September 4, 2020, Plaintiffs timely

   filed an amended complaint (ECF No. 21) pursuant to Fed.R.Civ.P.

   15(a)(1)(B).

           In accordance with Local Rule 7.1(e)(2)(B), Plaintiffs’ response

   Proposed-Intervening Defendant Kym Worthy’s motion to intervene

   (ECF No. 15) was due on September 4, 2020. Accordingly on

   September 8, 2020, Plaintiffs’ counsel filed an emergency motion for


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   extension of time, seeking an extension until September 9, 2020. (ECF

   No. 24). On that same day, this Court granted Plaintiffs’ motion (ECF

   No. 24) via a “text-only” order. However, Plaintiffs’ counsel was not

   able to meet that deadline because he has been involved in a number of

   high-profile election-related matters in both state and federal courts.

   As this Court is aware, election-related matters are time sensitive and

   are often subject to expedited briefing and scheduling orders. Today,

   Plaintiffs’ counsel filed Plaintiffs’ response in opposition (ECF No. 32) to

   Proposed-Intervening Defendant Kym Worthy’s motion to intervene

   (ECF No. 15).

          Plaintiffs respectfully request this Honorable Court grants their

   request for extension of time, extending the time to respond to today,

   September 11, 2020, and accept for filing Plaintiffs’ response in

   opposition to Proposed Intervenor Worthy’s motion to intervene (ECF

   No. 15), which has been properly docketed as ECF No. 32.

                            II.   Law and Legal Analysis

          When the motion is made (as here) after the deadline has expired,

   an extension may be granted if the party “failed to act because of

   excusable neglect.” Fed. R. Civ. P. 6(b)(1)(B). As the Sixth Circuit has


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   explained, unlike the somewhat amorphous “good cause” test, the

   heightened “excusable neglect” standard requires a “balancing of five

   principal factors: (1) the danger of prejudice to the nonmoving party, (2)

   the length of the delay and its potential impact on judicial proceedings,

   (3) the reason for the delay, (4) whether the delay was within the

   reasonable control of the moving party, and (5) whether the late-filing

   party acted in good faith.” Nafziger v. McDermott Int'l, Inc., 467 F.3d

   514, 522 (6th Cir. 2006).

          In the case at bar, the five principal factors weigh in favor of

   granting Plaintiffs’ instant motion pursuant to Fed.R.Civ.P. 6(b)(1)(B).

   There is simply no prejudice to the nonmoving party if Plaintiffs’ instant

   motion is granted because this case is in its early stages and the Court

   has issued a notice informing the parties that the Proposed-Intervening

   Defendant Kym Worthy’s motion to intervene (ECF No. 15) would be

   determined on the briefs submitted and without oral argument. (See

   Notice, ECF No. 20). Moreover, Proposed-Intervening Defendant Kym

   Worthy nor the Defendant will be prejudiced in any way considering

   Proposed-Intervening Defendant Kym Worthy will be allowed to file a

   reply to Plaintiffs’ response once it is filed with the Court.


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          With respect to factor number two, the length of the delay is just

   a mere 2 days. This 2-day delay will not in any way adversely affect

   the timely adjudication of the pending motion to intervene (ECF No. 15)

   considering the motion will be decided on the briefs submitted and

   without oral argument. (See Notice, ECF No. 20).

          With respect to the third factor, the reason for the delay was due

   to Plaintiffs’ counsel’s heavy case load caused by emergency election-

   related matters. As this Court is keenly aware, Plaintiffs’ counsel is

   retained counsel on at least 7 election-related cases that are either

   pending in this Court or in other state courts.

          With respect to factor four, although Plaintiffs could have filed the

   instant motion prior to today, Plaintiffs’ counsel honestly could not meet

   his self-imposed deadline due to the other pressing emergency matters

   Plaintiffs’ counsel has been immersed in. Plaintiffs’ counsel apologizes

   to the Court for not meeting his self-imposed deadline to file Plaintiffs’

   response to Proposed-Intervening Defendant Kym Worthy’s pending

   motion to intervene (ECF No. 15).

          Lastly, with respect to factor five, Plaintiffs and their counsel have

   certainly acted in good faith. Upon realizing the filing deadline had


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   been missed, Plaintiffs’ counsel promptly sought concurrence from

   counsel for Proposed-Intervening Defendant Kym Worthy counsel and

   counsel for the Defendant, and Plaintiffs promptly filed the instant

   emergency motion once concurrence was denied. Plaintiffs’ instant

   motion does not in any way jeopardize, impair, or delay the Court’s

   ability to timely adjudicate Proposed-Intervening Defendant Kym

   Worthy’s pending motion to intervene (ECF No. 15) and Plaintiffs’

   request for a 2-day extension is reasonable.

          In closing, for the forgoing reasons, Plaintiffs have satisfied the

   five factors establishing reasonable neglect for the untimely filing of

   Plaintiffs’ response to Proposed-Intervening Defendant Kym Worthy’s

   motion to intervene (ECF No. 15). Accordingly, Plaintiffs pray that this

   Honorable Court grants his request for a 2-day extension to file a

   response to the motion to intervene (ECF No. 15), thus making

   Plaintiffs’ response due today, September 11, 2020, and accept for

   filing Plaintiffs’ response in opposition to Worthy’s motion to

   intervene (ECF No. 15), which has been properly docketed as

   ECF No. 32.




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                                    CONCLUSION

          WHEREFORE, for the foregoing reasons, Plaintiffs pray that this

   Honorable Court GRANT Plaintiffs’ Emergency Motion for Extension of

   Time Pursuant Fed.R.Civ.P. 6(b)(1)(B) and allow Plaintiffs until today,

   September 11, 2020, to file a response to Proposed-Intervening

   Defendant Kym Worthy’s motion to intervene (ECF No. 15), and

   accept for filing Plaintiffs’ response in opposition to Worthy’s

   motion to intervene (ECF No. 15), which has been properly

   docketed as ECF No. 32.

   Dated: September 11, 2020              Respectfully submitted,

                                          /s/ ANDREW A. PATERSON
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                                          Attorney for Plaintiffs
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                                          Ann Arbor, MI 48108
                                          (248) 568-9712




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                           CERTIFICATE OF SERVICE

          I, ANDREW A. PATERSON, certify that forgoing document(s) was

   filed and served via the Court's electronic case filing and noticing

   system (ECF) this 11th day of September, 2020, which will

   automatically send notification of such filing to all attorneys and parties

   of record registered electronically.

   Dated: September 11, 2020              Respectfully submitted,

                                          /s/ ANDREW A. PATERSON
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